                 Case 20-40524                             Doc 18                Filed 06/19/20 Entered 06/19/20 18:22:05                                                          Desc Main
                                                                                 Document      Page 1 of 126
 Fill in this information to identify the case:

 Debtor name            The International Golf Club, LLC

                                                               DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)               20-40524-CJP
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           314,062.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           314,062.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           236,539.94

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       30,383,967.13


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         30,620,507.07




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                 Desc Main
                                                                     Document      Page 2 of 126
 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         20-40524-CJP
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                             $500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Citizens Bank                                             checking account            0306                                    $80,169.00




           3.2.    Citizens Bank                                             checking                    0314                                             $0.00




           3.3.    Citizens Bank                                             checking                    1906                                             $0.00




           3.4.    Citizens Bank                                             checking                    0322                                             $0.00


                   Citizens Bank (bank fees issued on
                   5/3/20 ($2143.03) then reversed on
           3.5.    5/6/20 to $0                                              checking                    7928                                             $0.00



 4.        Other cash equivalents (Identify all)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                          Desc Main
                                                                     Document      Page 3 of 126
 Debtor           The International Golf Club, LLC                                                    Case number (If known) 20-40524-CJP
                  Name


 5.        Total of Part 1.                                                                                                                    $80,669.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Vendors who owe IGC                                                                                                              $9,261.36




 9.        Total of Part 2.                                                                                                                      $9,261.36
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            108,587.00       -                                   0.00 = ....                  $108,587.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    62,925.00   -                                  0.00 =....                     $62,925.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $171,512.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used     Current value of
                                                      physical inventory             debtor's interest         for current value         debtor's interest
                                                                                     (Where available)

 19.       Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                   Desc Main
                                                                     Document      Page 4 of 126
 Debtor         The International Golf Club, LLC                                                  Case number (If known) 20-40524-CJP
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Pro Shop Merchandise                       3/30/2020                           $52,620.00                                        $52,620.00



 23.       Total of Part 5.                                                                                                             $52,620.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                    Net book value of     Valuation method used     Current value of
                                                                                  debtor's interest     for current value         debtor's interest
                                                                                  (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
            Mail Machine and copiers (Leases)                                              Unknown      N/A                                   Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                        $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                Desc Main
                                                                     Document      Page 5 of 126
 Debtor         The International Golf Club, LLC                                              Case number (If known) 20-40524-CJP
                Name


               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value         debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Various Carts and Equipment for Golf Course -
            See Schedule B50                                                           Unknown                                             Unknown




 51.        Total of Part 8.                                                                                                                $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            ICG owns rights to their website:
            www.theinternational.com-                                                  Unknown                                             Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05            Desc Main
                                                                     Document      Page 6 of 126
 Debtor         The International Golf Club, LLC                                             Case number (If known) 20-40524-CJP
                Name




 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                        $0.00                                       Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                 Case 20-40524                      Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                        Desc Main
                                                                        Document      Page 7 of 126
 Debtor          The International Golf Club, LLC                                                                    Case number (If known) 20-40524-CJP
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $80,669.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $9,261.36

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $171,512.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $52,620.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $314,062.36           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $314,062.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                Case 20-40524                     Doc 18             Filed 06/19/20 Entered 06/19/20 18:22:05                            Desc Main
                                                                     Document      Page 8 of 126
 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)             20-40524-CJP
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   TCF National Bank                              Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name

       PO Box 77077
       Minneapolis, MN 55480
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       Yamaha Motor Finance
 2.2                                                                                                                           Unknown                  Unknown
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name

       6555 Katella Avenue
       Cypress, CA 90630
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                Case 20-40524                     Doc 18             Filed 06/19/20 Entered 06/19/20 18:22:05                           Desc Main
                                                                     Document      Page 9 of 126
 Debtor       The International Golf Club, LLC                                                  Case number (if known)         20-40524-CJP
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                Case 20-40524                    Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                              Desc Main
                                                                     Document      Page 10 of 126
 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)           20-40524-CJP
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,000.00         $1,000.00
           Allison Harrington-B                                      Check all that apply.
           45 Carter Drive                                              Contingent
           Framingham                                                   Unliquidated
            MA 01701                                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $8,500.00         $3,025.00
           Byrne/Rogers Wedding                                      Check all that apply.
           800 Paddock Lane                                             Contingent
           Boxborough, MA 01719                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   23578                               Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 11 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,300.00    $3,025.00
          Cabrera/Santizo Wedd                                       Check all that apply.
          99 East Main St.                                              Contingent
          Ayer, MA 01432                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,000.00    $3,025.00
          Caruso/Ford Wedding                                        Check all that apply.
          1306 Windor Dr.                                               Contingent
          Framingham, MA 01701                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,000.00    $3,025.00
          Chase/Albano Wedding                                       Check all that apply.
          37 Middlesex Cir #6                                           Contingent
          Waltham, MA 02452                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,000.00    $1,000.00
          Christina's - Bridal Shower                                Check all that apply.
          83 Washington St. Apt. C                                      Contingent
          Ayer                                                          Unliquidated
           MA 01432                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 12 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,500.00    $3,025.00
          Courtney Pirosko                                           Check all that apply.
          74 Oak Trail                                                  Contingent
          Bolton, MA 01740                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,500.00    $3,025.00
          Courtney/Oeverman Wedding                                  Check all that apply.
          14 Kristyn Dr.                                                Contingent
          Northborough, MA 01532                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,100.00    $3,025.00
          Eduardo/Espanet Wedd                                       Check all that apply.
          23 Coburn Street                                              Contingent
          Framingham, MA 01705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,600.00    $3,025.00
          Farrell/Feeney Weddi                                       Check all that apply.
          20 Searles Hill Rd.                                           Contingent
          Phillipston, MA 01331                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 13 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Flomo/Young Wedding                                        Check all that apply.
          12A Corrine St.                                               Contingent
          Worcester, MA 01604                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Forecast/Egan Weddin                                       Check all that apply.
          67 Tewksbury St.                                              Contingent
          Andover, MA 01810                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $20,000.00    $3,025.00
          Henrickson/Almstrom Wedding                                Check all that apply.
          44 Bristol St.                                                Contingent
          Worcester, MA 01606                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,350.00    $3,025.00
          Honey/Smith Wedding                                        Check all that apply.
          38 Sylvan Drive                                               Contingent
          Stow, MA 01775                                                Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 14 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Hurley/Warren Wedding                                      Check all that apply.
          67 Leland Farm Road                                           Contingent
          Ashland, MA 01721                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,400.00    $1,400.00
          Joan Hastings - Brid                                       Check all that apply.
          96 Chace St.                                                  Contingent
          Clinton                                                       Unliquidated
           MA 01510                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,200.00    $3,025.00
          Lacasse/Remington Wedding                                  Check all that apply.
          140 Westwood St.                                              Contingent
          Palatine, IL 60067                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,625.00    $3,025.00
          Lopez/Ouimet Wedding                                       Check all that apply.
          300 East 89th St.Apt 5B                                       Contingent
          New York, NY 10128                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 15 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,660.00    $1,660.00
          Madhuri & Erick's Wedding                                  Check all that apply.
          49 Summer Lane                                                Contingent
          Holden, MA 01520                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,650.00    $3,025.00
          Maria DeGenova: Joni & Friends                             Check all that apply.
          136 Harvey Road Suite 101A                                    Contingent
          Londonderry                                                   Unliquidated
           NH 03035                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,875.00    $2,875.00
          Maurer/Borr Wedding                                        Check all that apply.
          11 Homer St.                                                  Contingent
          Worcester, MA 01602                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $900.00    $900.00
          Michelle Weinstein-Birthday                                Check all that apply.
          17 Boardman St                                                Contingent
          Westborough                                                   Unliquidated
           MA 01581                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 16 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $250.00    $250.00
          Mike Hughes - Bridal                                       Check all that apply.
          182 Pine Hill Road                                            Contingent
          Boxboro                                                       Unliquidated
           MA 01719                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,700.00    $2,700.00
          Muralidhar/Bendre Wedding                                  Check all that apply.
          50 Parham Road                                                Contingent
          Tyngsboro, MA 01879                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,850.00    $1,850.00
          Navani/Dhrampuriya Wedding                                 Check all that apply.
          45 Farmington Dr.                                             Contingent
          Shrewsbury, MA 01545                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,000.00    $1,000.00
          Olivia Cadette - Baptism                                   Check all that apply.
          31 Coachman Ridge Road                                        Contingent
          Shrewsbury                                                    Unliquidated
           MA 01545                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 17 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Paquette/Baer Weddin                                       Check all that apply.
          9 Lincoln St.                                                 Contingent
          Clinton, MA 01510                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $500.00    $500.00
          Phil O'Malley                                              Check all that apply.
          4805 Marrison Place                                           Contingent
          Indianapolis                                                  Unliquidated
           IN 46226                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,650.00    $3,025.00
          Poliana Moraes                                             Check all that apply.
                                                                        Contingent
          11 Coburn Drive                                               Unliquidated
          Methuen, MA 01844
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Moraes -15th Birthday
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,800.00    $3,025.00
          Pothier/Allain Weddi                                       Check all that apply.
          99 Eva Drive                                                  Contingent
          Leomister, MA 01453                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 18 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,500.00    $3,025.00
          Powell/Cody Wedding                                        Check all that apply.
          22 Gay Bower Rd.                                              Contingent
          Monroe, CT 06468                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Prakash/Carvalho Wed                                       Check all that apply.
          24 Faulkner Hill Road                                         Contingent
          Acton, MA 01720                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,000.00    $3,025.00
          Ravesi/Patel Wedding                                       Check all that apply.
          50 Clark St.                                                  Contingent
          Framingham, MA 01702                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,600.00    $3,025.00
          Reed/Bourisk Wedding                                       Check all that apply.
          105 Laurel St.                                                Contingent
          Lee, MA 01238                                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                     Document      Page 19 of 126
 Debtor       The International Golf Club, LLC                                                                Case number (if known)   20-40524-CJP
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,500.00    $3,025.00
          Reslow/Levanti Weddi                                       Check all that apply.
          1 Melissa Drive                                               Contingent
          Westford, MA 01886                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,000.00    $3,025.00
          Riley/Hackett Weddin                                       Check all that apply.
          15 Pleasant St.                                               Contingent
          Ashland, MA 01721                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,291.00    $1,291.00
          Robyn Piermarini-BridalShower                              Check all that apply.
          314 Brockleman Road                                           Contingent
          Lancaster                                                     Unliquidated
           MA 01523                                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,000.00    $3,000.00
          Rybicki/Liacopo Wedd                                       Check all that apply.
          152 Parker Rd.                                                Contingent
          Wakefield, MA 01880                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                Case 20-40524                    Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                 Desc Main
                                                                     Document      Page 20 of 126
 Debtor        The International Golf Club, LLC                                                               Case number (if known)   20-40524-CJP
               Name

 2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $4,000.00         $3,025.00
            Sookraj/Toscano Wedd                                     Check all that apply.
            303 3rd St. Unit #803                                       Contingent
            Cambridge, MA 02142                                         Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.40       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $7,500.00         $3,025.00
            Sricharoenchaikit/Mo Wedding                             Check all that apply.
            60 Baker Ave.                                               Contingent
            Shrewsbury, MA 01545                                        Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.41       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $8,000.00         $3,025.00
            Winske/LaForce Weddi                                     Check all that apply.
            271 Farm Rd.                                                Contingent
            Marlboro, MA 01752                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.42       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $16,238.94         $16,238.94
            zPriority Wage Claims Paid                               Check all that apply.
            Pursuant                                                    Contingent
            to Court Order                                              Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 21 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,640.00
          200 x 85 LLC                                                          Contingent
          6690 S ROUTE 53                                                       Unliquidated
          Woodridge, IL 60517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,935.00
          A.I.M. MUTUAL INSURANCE CO.                                           Contingent
          PO BOX 4131                                                           Unliquidated
          WOBURN, MA 01888                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $487.50
          AALANCO SERVICE CORPORATION                                           Contingent
          80-B TURPIKE ROAD                                                     Unliquidated
          WESTBOROUGH, MA 01581                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Aaron DeCoste                                                         Contingent
          70 Grist Mill Rd                                                      Unliquidated
          Boston, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $704.62
          ABB                                                                   Contingent
          Formerly Thomas/Betts                                                 Unliquidated
          8155 T&B Blvd                                                         Disputed
          Memphis, TN 38125
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,986.50
          ABB Installation                                                      Contingent
          860 Ridge Lake Blvd                                                   Unliquidated
          Memphis, TN 38125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Acosta Sales and Mar                                                  Contingent
          130 Lizotte Dr                                                        Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 22 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Adam Bosco                                                            Contingent
          226 Legate Hill Road                                                  Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,900.00
          Adam Hemond                                                           Contingent
          6 Messenger Street                                                    Unliquidated
          Plainville, MA 02762
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,445.16
          AIRGAS USA, LLC                                                       Contingent
          PO BOX 734445                                                         Unliquidated
          CHICAGO, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,500.00
          Ajay Singh                                                            Contingent
          45 W 3rd St, Apt 502                                                  Unliquidated
          Boston, MA 02127
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Akira Yamamura                                                        Contingent
          8-11-11 Akasaka                                                       Unliquidated
          MINATO-KU, Tokyo Japan                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Alan Bankart                                                          Contingent
          75 Barnes Hill Road
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,600.00
          Alan Colarusso                                                        Contingent
          52 Matawanakee Trail                                                  Unliquidated
          Littleton, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 13 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 23 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,700.00
          Alec Butler                                                           Contingent
          3 Hudson Place, Floor 1                                               Unliquidated
          Worcester, MA 01609
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Alfred Carosi Jr.                                                     Contingent
          1 Moore Circle
                                                                                Unliquidated
          Bedford, MA 01730
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Alfred L. Connell                                                     Contingent
          6 John Matthews Road
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Allen Chase                                                           Contingent
          288 Chace Street                                                      Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $81.33
          ALTEC, INC.                                                           Contingent
          23422 MILL CREEK DR.,#225                                             Unliquidated
          LAGUNA HILLS, CA 92653                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,316.60
          AMERICAN EXPRESS                                                      Contingent
          PO BOX 1270                                                           Unliquidated
          NEWARK, NJ 07101-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,698.67
          Ameripride Services Inc.                                              Contingent
          PO BOX 1390                                                           Unliquidated
          Bemidji, MN 56619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 14 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 24 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Andrew Berman                                                         Contingent
          23 MacMillan Drive
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Andrew Perry                                                          Contingent
          12 Coach House Rd.                                                    Unliquidated
          North Grafton, MA 01536
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Andy Hastings                                                         Contingent
          607 Fellsway West                                                     Unliquidated
          Medford, MA 02155
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,687.50
          Ann Costello                                                          Contingent
          19 Herrick Dr                                                         Unliquidated
          Methuen, MA 01844                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Anthony DiBona                                                        Contingent
          6 Seventh St
                                                                                Unliquidated
          Biddeford Pool, ME 04006
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Anthony DiBona                                                        Contingent
          6 Seventh St                                                          Unliquidated
          PO Box 55                                                             Disputed
          Biddeford Pool, ME 04006
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Anthony Ecock                                                         Contingent
          253 Marlborough St Unit 8
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 15 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 25 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $323.00
          Arcade Industries, Inc.                                               Contingent
          205 SOUTHBRIDGE STREET                                                Unliquidated
          Auburn, MA 01501-0375                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Arthur Gutierrez                                                      Contingent
          8 Claridge Drive
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Assoc. Subcontractor                                                  Contingent
          One Washington Mall                                                   Unliquidated
          Boston, MA 02109                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $814.92
          AT&T MOBILITY                                                         Contingent
          PO BOX 6463                                                           Unliquidated
          CAROL STREAM, IL 60197-6463                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,567.06
          ATLANTIC GOLF & TURF, LLC                                             Contingent
          27 INDUSTRIAL BLVD.                                                   Unliquidated
          TURNERS FALLS, MA 01376                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,042.56
          Atlantic Golf & Turf, LLC                                             Contingent
          27 INDUSTRIAL BLVD.                                                   Unliquidated
          Turners Falls, MA 01376                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $288.40
          Atlas Dist. Inc.                                                      Contingent
          44 SOUTHBRIDGE ST                                                     Unliquidated
          Auburn, MA 01501                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 16 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 26 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,740.80
          Avalon Consulting Group LLC                                           Contingent
          c/o Kelly Durfee Cardoza
                                                                                Unliquidated
          41 Cal's Court
          Taunton, MA 02780                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $119.87
          B & D SUPPLY, INC.                                                    Contingent
          638 SOUTHBRIDGE STREET                                                Unliquidated
          WORCESTER, MA 01610                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,897.34
          BALDOR BOSTON, LLC                                                    Contingent
          PO BOX 32129                                                          Unliquidated
          NEW YORK, NY 10087-4129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,605.74
          Bank of America                                                       Contingent
          PO BOX 844336                                                         Unliquidated
          DALLAS, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,282.25
          Bary Cosimi                                                           Contingent
          16 Federal Circle                                                     Unliquidated
          Leominster, MA 01453
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,000.00
          Basile Family Mem. G                                                  Contingent
          3 Nemco Way                                                           Unliquidated
          Ayer, MA 01432                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,702.86
          BAY STATE ELEVATOR COMPANY                                            Contingent
          PO BOX 5                                                              Unliquidated
          DALTON, MA 01227-0005                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 17 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 27 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Baystate Financial                                                    Contingent
          Payable to: Dave Porter,P.O. Box 171675                               Unliquidated
          Boston, MA 02117                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ben Whitham                                                           Contingent
          40 Warren Avenue                                                      Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Benchmark One Compan                                                  Contingent
          40 William St.                                                        Unliquidated
          Wellesley, MA 02481                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,524.00
          Bhupen Shah                                                           Contingent
          135 Houghton Lane                                                     Unliquidated
          Boxboro, MA 01719
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,025.00
          BIG BLUE BUG SOLUTIONS                                                Contingent
          PO BOX 72763                                                          Unliquidated
          PROVIDENCE, RI 02907-0763                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bill Monteiro                                                         Contingent
          15 Bolton Street                                                      Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,755.08
          BJ'S WHOLESALE CLUB                                                   Contingent
          PO BOX 659834                                                         Unliquidated
          SAN ANTONIO, TX 78265-9134                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 18 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 28 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Blaise Eckert                                                         Contingent
          90 Bolton Road                                                        Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.67
          Blue 20/20                                                            Contingent
          PO Box 2365                                                           Unliquidated
          S Burlington, VT 05407                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Blue Cross & Blue Sh                                                  Contingent
          101 Huntington Ave. Suite 1300                                        Unliquidated
          Boston, MA 02199-1300                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $615.22
          BLUE TARP FINANCIAL, INC.                                             Contingent
          PO BOX 105525                                                         Unliquidated
          ATLANTA, GA 30348-5525                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $825.00
          Bob Reid                                                              Contingent
          5D Autumn Drive                                                       Unliquidated
          Hudson, MA 01749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $178.50
          BOLTON PRINTING, INC.                                                 Contingent
          PO BOX 96                                                             Unliquidated
          BOLTON, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          Bolton Youth Baseball-Paul Bessette                                   Contingent
          Po Box 52                                                             Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 19 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 29 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $552.12
          BOSTON GOURMET CHEFS, INC.                                            Contingent
          PO BOX 883                                                            Unliquidated
          FRAMINGHAM, MA 01701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,598.44
          BOSTON SHOWCASE CO. INC.                                              Contingent
          66 WINCHESTER ST-PO BOX 610254                                        Unliquidated
          NEWTON HIGHLANDS, MA 02461-0254                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Boy Scouts of Americ                                                  Contingent
          2 Mount Royal Avenue, Ste 100                                         Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          BR&A/NJM                                                              Contingent
          10 Guest At, 4th Floor                                                Unliquidated
          Boston, MA 02135                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          Brad Bradford                                                         Contingent
          PO Box 522                                                            Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $300.00
          Brayden Weaver                                                        Contingent
          23 Deer Path Road                                                     Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Brendon Davis                                                         Contingent
          76 Grist Mill Rd.                                                     Unliquidated
          Marlborough, MA 01460                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 20 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 30 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Brett Heffernan                                                       Contingent
          237 Mill St. Ext                                                      Unliquidated
          Lancaster, MA 01523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Brian Chu                                                             Contingent
          303 Columbus Avenue
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Brian Frye                                                            Contingent
          11 Still River Road                                                   Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Brian Ouellette                                                       Contingent
          8 Silverbrook Rd                                                      Unliquidated
          Salam, NH 03079
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brian Scannell                                                        Contingent
          11 Kings Grant Road                                                   Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,706.25
          Bruce Cain                                                            Contingent
          129 B Smith Street                                                    Unliquidated
          Groton, MA 01450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          Bruce Shutts                                                          Contingent
          50 Vaughn Hill Road
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 21 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 31 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Bryan Sayler                                                          Contingent
          117 Walcott Street                                                    Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $800.00
          Byun Sung                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,120.00
          C.J. Patti                                                            Contingent
          0017401 Via Lugano Court                                              Unliquidated
          Miromar Lakes, FL 33913                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $129.10
          CALISE & SONS BAKERY INC.                                             Contingent
          2 QUALITY DRIVE                                                       Unliquidated
          LINCOLN, RI 02865                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $436.25
          Callahan's Tent                                                       Contingent
          PO Box 509                                                            Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,775.50
          CALLAWAY GOLF CORP.                                                   Contingent
          PO BOX 9002                                                           Unliquidated
          CARLSBAD, CA 92018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $220.07
          CAMBRIDGE PACKING CO INC.                                             Contingent
          PO BOX 970070                                                         Unliquidated
          BOSTON, MA 02297-0070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 22 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 32 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Cambridge Savings Ba                                                  Contingent
          1347 Massachusetts Ave.                                               Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Cambridge Savings Ba                                                  Contingent
          1347 Massachusetts Ave.                                               Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,144.57
          CAPT. MARDEN'S SEAFOODS, LLC MCH                                      Contingent
          PO BOX 812906                                                         Unliquidated
          WELLESLEY, MA 02482                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Carl Youngman                                                         Contingent
          94 Clements Road
                                                                                Unliquidated
          Newton, MA 02458
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,015.00
          Carl Youngman                                                         Contingent
          94 Clements Road                                                      Unliquidated
          Newton, MA 02458                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,200.00
          CATEREASE Horizon Business                                            Contingent
          PO BOX 7459                                                           Unliquidated
          NAPLES, FL 34101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $176.00
          CENTRAL MASS EMS CORP                                                 Contingent
          361 HOLDEN ST
                                                                                Unliquidated
          HOLDEN, MA 01520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 23 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 33 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Chad Carpenter                                                        Contingent
          42366 N 111Th Place
                                                                                Unliquidated
          Scottsdale, AZ 85262-3251
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,867.00
          Chad Marston                                                          Contingent
          68 W. Berlin Road                                                     Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,163.00
          CHARLES M MORAN PLB & HTG INC.                                        Contingent
          54 ALLEN STREET                                                       Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,200.00
          Chemical Club of New                                                  Contingent
          330-B Victor Rd.                                                      Unliquidated
          Attleboro, MA 02703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Chip Gilroy                                                           Contingent
          16 Ammon Drive
                                                                                Unliquidated
          Manchester, NH 03108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Chris Maher                                                           Contingent
          43 Powder Hill Road                                                   Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,840.00
          Chris Mastrangelo                                                     Contingent
          50 Vaughn Hill                                                        Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 24 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 34 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Chrisann Taras                                                        Contingent
          22 Lisa Lane                                                          Unliquidated
          Waltham, MA 02452
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Christopher Callahan                                                  Contingent
          116 Turnpike Rd, Unit 6                                               Unliquidated
          Chelmsford, MA 01824
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Christopher Egan                                                      Contingent
          2 Commonwealth Ave Apt 10G
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Christopher Litterio                                                  Contingent
          19 Pine Pasture Run
                                                                                Unliquidated
          Boxborough, MA 01719
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Christopher Petranto                                                  Contingent
          123 Greystone Lane                                                    Unliquidated
          Carlisle, MA 01741
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Christopher Powell                                                    Contingent
          26 Park Street                                                        Unliquidated
          Maynard, MA 01754
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Christopher Staal                                                     Contingent
          14 Dennis Drive                                                       Unliquidated
          Leominster, MA 01453
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 25 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 35 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,600.00
          Clinton HS Class of                                                   Contingent
          Paul Zapantis, 281 Mills St Ext                                       Unliquidated
          Lancaster                                                             Disputed
           MA 01523
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,097.50
          CLUBSTER LLC                                                          Contingent
          11911 NE FIRST ST., B101                                              Unliquidated
          BELLEVUE, WA 98005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $65.51
          COBRA GOLF INC                                                        Contingent
          P.O. BOX 74008948                                                     Unliquidated
          CHICAGO, IL 60674-8948                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $348.00
          COCA COLA REFRESHMENTS USA INC.                                       Contingent
          PO BOX 419784                                                         Unliquidated
          BOSTON, MA 02241-9784                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Colin Pagington                                                       Contingent
          20 Runaway Brook Road                                                 Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $245.00
          Colin Ruschioni                                                       Contingent
          318 Ball Hill Road                                                    Unliquidated
          Princeton, MA 01541                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $395.00
          Colin Small                                                           Contingent
          30 Dewey Street                                                       Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 26 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 36 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,062.43
          COMCAST BUSINESS, LLC.                                                Contingent
          PO BOX 37601                                                          Unliquidated
          PHILADELPHIA, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $515.89
          COMCAST BUSINESS, LLC.                                                Contingent
          PO BOX 37601                                                          Unliquidated
          PHILADELPHIA, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $89.50
          COMMTRAK                                                              Contingent
          17493 NASSAU COMMONS                                                  Unliquidated
          LEWES, DE 19958                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          Cormier/Michalowicz                                                   Contingent
          1 Spring Brook Ct.                                                    Unliquidated
          Mendon, MA 01756                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,544.16
          COUNTRY CLUB ENTERPRISES, LLC                                         Contingent
          2D EXPRESS DRIVE                                                      Unliquidated
          WAREHAM, MA 02571                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $150.00
          CRAFT BEER GUILD, LLC                                                 Contingent
          170 MARKET STREET                                                     Unliquidated
          EVERETT, MA 02149                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Craig Szeman                                                          Contingent
          9 Fairfield ST
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 27 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 37 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,356.47
          DAF SERVICES, INC.                                                    Contingent
          20 LAWNACRE ROAD                                                      Unliquidated
          WINDSOR LOCKS, CT 06096                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Daniel Auditore                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Daniel Gorman                                                         Contingent
          26 Richards Road                                                      Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Daniel Graham                                                         Contingent
          78 East Temple Street                                                 Unliquidated
          Boylston, MA 01505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Daniel Kerner                                                         Contingent
          5 Hickory Rd                                                          Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Daniel Nissi                                                          Contingent
          30 Bullard Lane
                                                                                Unliquidated
          Millis, MA 02054
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Danielle Lee                                                          Contingent
          75 Virginia Road                                                      Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 28 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 38 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Darrel Andrews                                                        Contingent
          12 Alan Rd                                                            Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,500.00
          Darren Johnston                                                       Contingent
          1 Turtle Bay Lane                                                     Unliquidated
          Southampton SN01 BERMUDA
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Dave Phaneuf                                                          Contingent
          203 Bolton St                                                         Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          David A. Moreno                                                       Contingent
          55 Littleton Road Unit 12B
                                                                                Unliquidated
          Ayer, MA 01432
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,990.00
          David Arcari                                                          Contingent
          31 Flint Pond Dr                                                      Unliquidated
          North Grafton, MA 01536
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,200.00
          David Barberio                                                        Contingent
          14 Cross Street                                                       Unliquidated
          Southboro, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          David Bellinger                                                       Contingent
          7 Rockport Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 29 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 39 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,715.00
          David Bloss                                                           Contingent
          171 Littleton Country Road                                            Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          David Broecker                                                        Contingent
          400 Concord Road
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,050.00
          David Fisher                                                          Contingent
          3 Elizabeth Ln.                                                       Unliquidated
          Sterling, MA 01564
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,125.00
          David Lessner                                                         Contingent
          77 Court Street, Unit 305                                             Unliquidated
          Newton, MA 02458
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,706.25
          David Montgomery                                                      Contingent
          182 Boxboro Road                                                      Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,500.00
          David Norton                                                          Contingent
          5 Crowell Farm Road
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,000.00
          David Patrick                                                         Contingent
          71 Pope Road
                                                                                Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 30 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 40 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Philbin                                                         Contingent
          7508 Crosshill Court                                                  Unliquidated
          Lakewood Ranch, FL 34202
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          David Porter                                                          Contingent
          17 Twillingate Lane
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          David Skok                                                            Contingent
          23 South Great Road
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          David Skok                                                            Contingent
          23 South Great Road                                                   Unliquidated
          Lincoln, MA 01773                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          David Sperry                                                          Contingent
          141 Brown Road                                                        Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          David T. McKay                                                        Contingent
          825 West Street
                                                                                Unliquidated
          Carlisle, MA 01741
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,050.00
          Deb Morrison                                                          Contingent
          PO Box 435                                                            Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 31 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 41 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Deborah McLaughlin                                                    Contingent
          78 Village View Road                                                  Unliquidated
          Westford, MA 01886
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,938.78
          Dee Biggs                                                             Contingent
          9 Capt Forbush Ln                                                     Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Denis Berube                                                          Contingent
          1235-5 Monument Street
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,423.66
          DENNIS K. BURKE, INC.                                                 Contingent
          PO BOX 3639                                                           Unliquidated
          BOSTON, MA 02241-3639                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          Diane Bodine                                                          Contingent
          476 Linden St                                                         Unliquidated
          Boylston, MA 01505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Diane Mullahy                                                         Contingent
          89 Macfarlane Dr                                                      Unliquidated
          Del Ray Beach, FL 33483
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $610.00
          Dick Bower                                                            Contingent
          504D Ridgefield Circle                                                Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 32 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 42 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Diego Messina                                                         Contingent
          90 Kodiak Way Apt 2716
                                                                                Unliquidated
          Waltham, MA 02451
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          DJ Bosse                                                              Contingent
          589 Concord Road
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Dominic Schiavone                                                     Contingent
          15 Forbes Rd                                                          Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Don Casey                                                             Contingent
          61 Jordan Road
                                                                                Unliquidated
          Brookline, MA 02446
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Don Gaiter                                                            Contingent
          49 Possum Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Donald Block                                                          Contingent
          138 Walden Way                                                        Unliquidated
          Milford, MA 01757
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Donald Byrnes                                                         Contingent
          18 Richard Ave
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 33 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 43 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Donald Cristy                                                         Contingent
          Cristy Corporation
                                                                                Unliquidated
          260 Authority Drive
          Fitchburg, MA 01420                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Donald Spigarelli                                                     Contingent
          99 Indian Hill Road
                                                                                Unliquidated
          Groton, MA 01450
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,800.00
          Douglas Petersen                                                      Contingent
          47 Westview Road                                                      Unliquidated
          Brookline, NH 03033
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Douglas Potter                                                        Contingent
          47 Powers Road
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Drew Sandstrom                                                        Contingent
          39 Sunset Ridge Lane                                                  Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Drew Tucci                                                            Contingent
          4 Bartlett Drive                                                      Unliquidated
          Bedford, NH 03110
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $406.41
          E.L. HARVEY & SONS, INC.                                              Contingent
          68 HOPKINTON ROAD                                                     Unliquidated
          WESTBORO, MA 01581                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 34 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 44 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          Eastern Bank                                                          Contingent
          155 Dartmouth St.                                                     Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $543.76
          ECOLAB CENTER INC.                                                    Contingent
          PO BOX 32027                                                          Unliquidated
          NEW YORK, NY 10087-2027                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $241.05
          ECOLAB PEST ELIM. DIV.                                                Contingent
          26252 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,835.00
          Ed Heald                                                              Contingent
          70 Rodgers Road                                                       Unliquidated
          Carlisle, MA 01741                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,297.00
          Ed Hyson                                                              Contingent
          154 Claybrook Road                                                    Unliquidated
          Dover, MA 02030                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Eddie Wen                                                             Contingent
          17 Thoreau Road                                                       Unliquidated
          Northboro, MA 01532                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,241.71
          EDF ENERGY SERVICES LLC                                               Contingent
          PO BOX 74007029                                                       Unliquidated
          CHICAGO, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 35 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 45 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Edward "Terry" Dangel                                                 Contingent
          11 Chestnut St
                                                                                Unliquidated
          Boston, MA 02108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Edward Baker                                                          Contingent
          9 Elizabeth Road
                                                                                Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Edward Cannie                                                         Contingent
                                                                                Unliquidated
          Dover, MA 02030
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Edward Heald                                                          Contingent
          70 Rodgers Road                                                       Unliquidated
          Carlisle, MA 01741
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Edward Hyson                                                          Contingent
          154 Claybrook Road                                                    Unliquidated
          Dover, MA 02030
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Edward O'Brien                                                        Contingent
          680 South Ave Unit #5
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Eiji Miyanaga                                                         Contingent
          220 Mansfield Drive                                                   Unliquidated
          Mountain View, CA 94040
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 36 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 46 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Emery Guertin                                                         Contingent
          121 Russell Road
                                                                                Unliquidated
          Framingham, MA 01702-2245
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,225.00
          Emily Peterson                                                        Contingent
          10 Powhatan Road                                                      Unliquidated
          Pepperell, MA 01463
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,900.00
          Eric Hanson                                                           Contingent
          38 Carriage Road
                                                                                Unliquidated
          Lowell, MA 01852
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Ernest Elliott                                                        Contingent
          79 Beacon Street                                                      Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          Ernie Michaud                                                         Contingent
          302D Ridgefield Circle                                                Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,000.00
          ETL Corp                                                              Contingent
          Jenni Lee Colosi                                                      Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Evan Gewirtz                                                          Contingent
          2687 Paige Way
                                                                                Unliquidated
          San Ramon, CA 94582
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 37 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 47 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,225.00
          Evan McCullough                                                       Contingent
          16 Armstrong Dr                                                       Unliquidated
          Westborough, MA 01581
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $395.00
          Evan Membrino                                                         Contingent
          32 Hudson Road                                                        Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,079.00
          F.G. SULLIVAN DRILLING CO, INC.                                       Contingent
          394 PARKER ROAD                                                       Unliquidated
          LANCASTER, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          Fay School Gala                                                       Contingent
          48 Maint St.                                                          Unliquidated
          Southborough                                                          Disputed
           MA 01772
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $188.30
          FINCH SERVICES INC                                                    Contingent
          1127 LITTLESTOWN PIK                                                  Unliquidated
          WESTMINSTER, MD 21157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $411.52
          FISHER AUTO PARTS, INC.                                               Contingent
          600 MAIN STREET                                                       Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $19,400,000.00
          Florence Weadock
          c/o John Altamore, Esq.                                               Contingent
          Fusaro Altomare & Ermilio Law Office                                  Unliquidated
          71 Elm Street                                                         Disputed
          Worcester, MA 01609
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 38 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 48 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          For Kids Sake                                                         Contingent
          39 Cowell St.                                                         Unliquidated
          Plainville, MA 02762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $741.27
          Ford Motor                                                            Contingent
          PO Box 220564                                                         Unliquidated
          Pittsburgh, PA 15257                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,480.00
          Frank Hill                                                            Contingent
          3 Avon St                                                             Unliquidated
          Reading, MA 01867
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Fred DiGregorio                                                       Contingent
          322 Worcester Street
                                                                                Unliquidated
          Southbridge, MA 01550
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Frederick Richards                                                    Contingent
          760 Waterford Drive unit 204
                                                                                Unliquidated
          Naples, FL 34113
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Gary Breitbord                                                        Contingent
          43 Carter Drive
                                                                                Unliquidated
          Framingham, MA 01701
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Gary Culyer                                                           Contingent
          98 Outlook Dr                                                         Unliquidated
          Lexington, MA 02421
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 39 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 49 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Ghigliotti                                                       Contingent
          38 Marcy St.                                                          Unliquidated
          Portsmouth, NH 03801
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Gary Kroll                                                            Contingent
          12 Alder Way                                                          Unliquidated
          Lunenburg, MA 01462
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $680.00
          Gary Renczkowki                                                       Contingent
          232 Bolton Station Road                                               Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Geoffrey Filker                                                       Contingent
          15 Chanticleer Road                                                   Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George E. Miller III                                                  Contingent
          50 Corn Road                                                          Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          George Keches                                                         Contingent
          2 Chestnut Lane
                                                                                Unliquidated
          Medfield, MA 02052
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $450.00
          George Leite                                                          Contingent
          35 Old Mill Road                                                      Unliquidated
          Leominster, MA 01523                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 40 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 50 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          George Shimer                                                         Contingent
          54 Campbell Road
                                                                                Unliquidated
          Wayland, MA 01778
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Gerald Buckley                                                        Contingent
          C/O UPS
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Gerry Curley                                                          Contingent
          156 Ballville Road
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Gil Cote                                                              Contingent
          54 Meadow Rd                                                          Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Glenn Deming                                                          Contingent
          54 Gilchrest Street                                                   Unliquidated
          Lunenburg, MA 01462
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,106.00
          Glenn Noland                                                          Contingent
          129 Taylor Road                                                       Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $239.80
          GOOD AS GOLD COFFEE SYSTEMS, INC.                                     Contingent
          115 GREEN ST                                                          Unliquidated
          WORCESTER, MA 01604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 41 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 51 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,179.98
          GPS INDUSTRIES, LLC                                                   Contingent
          1074 N. ORANGE AVE.                                                   Unliquidated
          SARASOTA, FL 34236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $202.23
          GRAINGER INC.                                                         Contingent
          DEPT. 832961098                                                       Unliquidated
          PALATINE, IL 60038-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Greenlight Fund                                                       Contingent
          120 St. James Ave. 6th Floor                                          Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,225.00
          Greg Borecki                                                          Contingent
          13 Village Road                                                       Unliquidated
          Pepperell, MA 01463
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Guidepoint Security                                                   Contingent
          2201 Cooperative Way                                                  Unliquidated
          Herndon, VA 20171                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Hank Fitzgerald                                                       Contingent
          6 McGregory Road
                                                                                Unliquidated
          SturBridge, MA 01566
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,435.20
          HARRELL'S LLC                                                         Contingent
          PO BOX 935358                                                         Unliquidated
          ATLANTA, GA 31193                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 42 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 52 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Harry Manion                                                          Contingent
          60 State St.,STE 2400                                                 Unliquidated
          Boston, MA 20109
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Health Alliance Hosp                                                  Contingent
          60 Hospital Road                                                      Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,609.38
          HELENA CHEMICAL                                                       Contingent
          PO BOX 198153                                                         Unliquidated
          ATLANTA, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Herbert Ingram                                                        Contingent
          44 Elm Street, #518
                                                                                Unliquidated
          Worcester, MA 01609
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $789.24
          HORIZON BEVERAGE COMPANY                                              Contingent
          PO BOX 1165                                                           Unliquidated
          NORTON, MA 02766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $680.00
          IDEAL FIRE PROTECTION, INC.                                           Contingent
          54 ALLEN STREET                                                       Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          Irish Children's Hos                                                  Contingent
          P.O. Box 431                                                          Unliquidated
          Garden City, NY 11530                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 43 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 53 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,225.00
          Ivonne McLaughlin                                                     Contingent
          5 Hubbard Lane                                                        Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $720.00
          J.R. GRADY & SONS, INC.                                               Contingent
          18 MARSHALL STREET                                                    Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Jack Cincotta                                                         Contingent
          4 Lamson Avenue                                                       Unliquidated
          Hudson, MA 01749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,240.00
          Jack Naughton                                                         Contingent
          414 Nicholas Drive                                                    Unliquidated
          Lancaster, MA 01523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Jack W. Britts                                                        Contingent
          2021 St. Andrews Road
                                                                                Unliquidated
          Greensboro, NC 27408
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Jackson Libby                                                         Contingent
          172 Ballville Road                                                    Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          James Benson                                                          Contingent
          63 Winsor Way
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 44 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 54 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,184.15
          James Callahan                                                        Contingent
          5 Pennsylvania Ave                                                    Unliquidated
          Chelmsford, MA 01824
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Haynes Jr.                                                      Contingent
          565 Malden Street                                                     Unliquidated
          Holden, MA 01520
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Hryniewich                                                      Contingent
          18 Grist Mill Road                                                    Unliquidated
          Littleton, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,000.00
          James I. Cash                                                         Contingent
          16 Highgate Road
                                                                                Unliquidated
          Wellesley, MA 02481-1420
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Morin                                                           Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          James Nolan                                                           Contingent
          155 Brookbend Rd                                                      Unliquidated
          Fairfield, CT 06824                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          James Wolfsberg                                                       Contingent
          4 Garland Road
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 45 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 55 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          Jared Johnson                                                         Contingent
          50 Clarke Dr                                                          Unliquidated
          Marlboro, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          Jarrod Gomes                                                          Contingent
          3 Woodruff Road                                                       Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          JCC Greater Boston                                                    Contingent
          333 Nahanton Street                                                   Unliquidated
          Newton, MA 02459                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Jeff Stoddard                                                         Contingent
          69 Randall Road                                                       Unliquidated
          Berlin, MA 01503                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,500.00
          Jeffrey Black                                                         Contingent
          6025 Joshua Road
                                                                                Unliquidated
          Ft. Washington, PA 19034
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Jeffrey Gore                                                          Contingent
          8 Palmer Lane                                                         Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Jeffrey Lindholm                                                      Contingent
          2 Gina Drive
                                                                                Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 46 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 56 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Jeffrey Long                                                          Contingent
          59 Evelina Dr                                                         Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Jeffrey McCarthy                                                      Contingent
          171 Pope Road
                                                                                Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Jeffrey O'Neill                                                       Contingent
          78 Fisher Street
                                                                                Unliquidated
          Medway, MA 02053
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,397.46
          Jeffrey Ward                                                          Contingent
          381 Willow Street                                                     Unliquidated
          Mansfield, MA 02048
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Jeremy Cratty                                                         Contingent
          7 Peabody Drive                                                       Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Jerome Rappaport Jr.                                                  Contingent
          419 Grove Street
                                                                                Unliquidated
          Needham, MA 02492
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Jess Hatch                                                            Contingent
          27 Radcliffe Road
                                                                                Unliquidated
          Wellesley, MA 02482
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 47 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 57 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Jim Alibrandi                                                         Contingent
          70 Treble Cove Road
                                                                                Unliquidated
          Billerica, MA 01862
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,295.00
          Jim Alibrandi                                                         Contingent
          70 Treble Cove Road                                                   Unliquidated
          Billerica, MA 01862
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Jim Blais                                                             Contingent
          3 Champlain Drive                                                     Unliquidated
          Hudson, MA 01749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Jim Duggan                                                            Contingent
          PO Box 606                                                            Unliquidated
          Maynard, MA 01754                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,500.00
          Jim Moran                                                             Contingent
          81 Carisbrooke Road
                                                                                Unliquidated
          Wellesley, MA 02481
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Jim O'Shea                                                            Contingent
          6 Arlington Street Unit 6
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,500.00
          Jimmy Fund Opening D                                                  Contingent
          10 Brookline Place West                                               Unliquidated
          Brookline, MA 02445                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 48 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 58 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,400.00
          Jimmy Fund Sunrise t                                                  Contingent
          10 Brookline Place West                                               Unliquidated
          Brookline, MA 02445                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Joe Ashby                                                             Contingent
          116 Green Road                                                        Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Joe Facendola                                                         Contingent
          81 Greeley St                                                         Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joe Jr. Oliveri                                                       Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Joe Maestri                                                           Contingent
          329 Chestnut Street                                                   Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Joe Rausa                                                             Contingent
          54 White Street                                                       Unliquidated
          Littleton, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Joel Bradley                                                          Contingent
          141 Magazine Street
                                                                                Unliquidated
          Cambridge, MA 02139
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 49 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 59 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joel Bradley                                                          Contingent
          141 Magazine Street                                                   Unliquidated
          Cambridge, MA 02139
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $475.00
          Joel Richards                                                         Contingent
          104 Coventry Wood Road                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          John Adams                                                            Contingent
          39 Tabor Hill Road
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          John Axten                                                            Contingent
          28 Laurel Street
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          John Bates                                                            Contingent
          10 Dennis Street
                                                                                Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          John Bates                                                            Contingent
          10 Dennis Street                                                      Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          John Berylson                                                         Contingent
          38 Highgate Road
                                                                                Unliquidated
          Wellesley Hills, MA 02481
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 50 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 60 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          John Besemer                                                          Contingent
          17 Lafayette Drive
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          John Butler                                                           Contingent
          56 Ethier Circle                                                      Unliquidated
          Marlboro, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          John Clementi                                                         Contingent
          31B Bullard Road
                                                                                Unliquidated
          Princeton, MA 01541
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          John Croce                                                            Contingent
          18 White Oaks Lane
                                                                                Unliquidated
          Reading, MA 01867
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          John Croce                                                            Contingent
          18 White Oaks Lane                                                    Unliquidated
          Reading, MA 01867
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          John Cussen                                                           Contingent
          227 Harvard Road
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,500.00
          John Diefenbach                                                       Contingent
          51 Drumlin Hill Road                                                  Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 51 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 61 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          John Drago                                                            Contingent
          20 Custom House St.                                                   Unliquidated
          Boston, MA                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          John Finn                                                             Contingent
          147 Peach Hill Road
                                                                                Unliquidated
          Berlin, MA 01503
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          John Fleming JS Fleming                                               Contingent
          1811 Lynds Hill Road
                                                                                Unliquidated
          Plymouth, VT 05056
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          John Gillis                                                           Contingent
          One Warburton Lane                                                    Unliquidated
          Westborough, MA 01581
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          John Gouley                                                           Contingent
          70 Gates Road                                                         Unliquidated
          Shrewsbury, MA 01545
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          John Jasan                                                            Contingent
          1 Jackie Way                                                          Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Lauer                                                            Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 52 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 62 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          John M. Lynch                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,650.00
          John McKenna                                                          Contingent
          150 Oak Trail                                                         Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          John McNamara                                                         Contingent
          56 Berlin St                                                          Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,650.00
          John O'Brien                                                          Contingent
          18 Lost Oak Rd                                                        Unliquidated
          West Boylston, MA 01583
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          John Tegan                                                            Contingent
          51 Commonwealth Ave
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          John Tegan                                                            Contingent
          269 Crawford Street                                                   Unliquidated
          Northborough, MA 01532
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          John Tegan III                                                        Contingent
          269 Crawford Street                                                   Unliquidated
          Northborough, MA 01532
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 53 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 63 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jon Gould                                                             Contingent
          14 Wellington Dr                                                      Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Jonathan Kennedy                                                      Contingent
          255 Evelina Drive                                                     Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Jonathon Jacobson                                                     Contingent
          195 Concord Road
                                                                                Unliquidated
          Wayland, MA 01778
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jorgen Madsen                                                         Contingent
          72 Golden Run Road                                                    Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Joseph Cariglia                                                       Contingent
          188 Lincoln Street
                                                                                Unliquidated
          Worcester, MA 01605
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Joseph Harney                                                         Contingent
          47 Glen Ct.
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Joseph Mullany                                                        Contingent
          DMC Corporate Office 3990 John R St
                                                                                Unliquidated
          Detroit, MI 48201
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 54 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 64 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Joseph Oliveri                                                        Contingent
          13 Steel Road
                                                                                Unliquidated
          Hopedale, MA 01747
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Joseph Palange                                                        Contingent
          123 Chapin Rd, Unit 2A                                                Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Joseph Rabbitt                                                        Contingent
          364 Thoreau Street                                                    Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,500.00
          Justin Harney                                                         Contingent
          47 Glen Ct.
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,812.50
          Karen Brandvold                                                       Contingent
          19 Autumn Lane                                                        Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $53.13
          KATYDID FLOWERS, INC.                                                 Contingent
          32 HASTINGS STREET, STE. 103                                          Unliquidated
          MENDON, MA 01756                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,312.00
          Ken Barber                                                            Contingent
          PO Box 678                                                            Unliquidated
          Natick, MA 01760
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 55 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 65 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          Ken Martin                                                            Contingent
          9 Sauta Farm Way                                                      Unliquidated
          Hudson, MA 01749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,500.00
          Kendall MacCulloch                                                    Contingent
          1 Rebecca Ave                                                         Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Kenneth Guiel                                                         Contingent
          49 Concord St                                                         Unliquidated
          Maynard, MA 01754
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,500.00
          Kenneth Martin                                                        Contingent
          52 North Cross Road
                                                                                Unliquidated
          North Andover, MA 01845
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Kevin Harrison                                                        Contingent
          17 Carriage Hill Circle
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,200.00
          Kevin McNamara                                                        Contingent
          190 East Grand Ave.                                                   Unliquidated
          Old Orchard Beach, ME 04064
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Kevin Nolin                                                           Contingent
          115 Blanchette Drive                                                  Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 56 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 66 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,344.00
          Kingsley Norris                                                       Contingent
          50 Hastings Rd.                                                       Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Ko Ishikura                                                           Contingent
          122 Drumlin Hill Road                                                 Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Kurt Bierig                                                           Contingent
          15 North Cove Road
                                                                                Unliquidated
          Sterling, MA 01564
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $825.00
          Larry Lavalee                                                         Contingent
          67 Treaty Elm Lane                                                    Unliquidated
          Stow, MA 01775                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Larry Murray                                                          Contingent
          904 Massachusetts Avenue
                                                                                Unliquidated
          Lexington, MA 02420
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Larry Murray                                                          Contingent
          904 Massachusetts Avenue                                              Unliquidated
          Lexington, MA 02420
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Ledyard Smith                                                         Contingent
          P.O. Box 800
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 57 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 67 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,600.00
          Lee and Mason Financ                                                  Contingent
          PO Box 270                                                            Unliquidated
          Northville, NY 21134                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $39.80
          LEXYL TRAVEL TECHNOLOGIES LLC                                         Contingent
          PO BOX 645452                                                         Unliquidated
          PITTSBURGH, PA 15264-5452                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $245.00
          Liam Hall                                                             Contingent
          19 Lanes End Road                                                     Unliquidated
          Stow, MA 01775                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Linda Pilla                                                           Contingent
          2627 Commons Drive
                                                                                Unliquidated
          Glenview, IL 60026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,295.00
          Linda Pilla                                                           Contingent
          2627 Commons Drive                                                    Unliquidated
          Glenview, IL 60026
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Louis Battaglia                                                       Contingent
          5 Dixfield Street                                                     Unliquidated
          Wilmington, MA 02127
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $605.97
          LOWE'S BUSINESS ACCOUNT                                               Contingent
          PO BOX 530970                                                         Unliquidated
          ATLANTA, GA 30353-0970                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 58 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 68 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Lowell General Hospital                                               Contingent
          295 Varnum Ave.                                                       Unliquidated
          Lowell, MA 01854-2193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,200.00
          MA Business Aviation                                                  Contingent
          PO Box 5396                                                           Unliquidated
          Wayland, MA 01778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $679.64
          MAIL FINANCE INC.                                                     Contingent
          DEPT 3682-POBox 123682                                                Unliquidated
          DALLAS, TX 75312-3682                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Marc Idelson                                                          Contingent
          7950 W. Sunset Boulevard Apt 235
                                                                                Unliquidated
          Los Angeles, CA 90046
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Marc Kozin                                                            Contingent
          586 Old Marlboro Rd.
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $450.00
          Marcel Leger                                                          Contingent
          20 Brooks Pond Apt #202                                               Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Margaret Quigley                                                      Contingent
          4615 Center Blvd. Apt 2905
                                                                                Unliquidated
          Long Island City, NY 11109
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 59 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 69 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Marian Kreeb                                                          Contingent
          171 West Bare Hill Rd
                                                                                Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark Barber                                                           Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,348.00
          Mark Bonner                                                           Contingent
          72 Winter St                                                          Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,500.00
          Mark Bonner Jr.                                                       Contingent
          72 Winter St                                                          Unliquidated
          Natick, MA 01760
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Mark Corrigan                                                         Contingent
          389 Marlborough Street
                                                                                Unliquidated
          Boston, MA 02115
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Mark F. O'Connell                                                     Contingent
          P.O. Box 1077
                                                                                Unliquidated
          Moultonboro, NH 03254
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,694.00
          Mark Masterson                                                        Contingent
          35 Goose Pond Rd                                                      Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 60 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 70 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,238.00
          Mark Osullivan                                                        Contingent
          37 Constitution Drive                                                 Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Mark Quinlivan                                                        Contingent
          18 Birch Brush Road
                                                                                Unliquidated
          Shrewsbury, MA 01545
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,497.17
          MARTIGNETTI COMPANIES, LLC                                            Contingent
          500 JOHN HANCOCK ROAD                                                 Unliquidated
          TAUNTON, MA 02780                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,275.00
          Martin Connors                                                        Contingent
          170 Jamestown Road                                                    Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $440.00
          Mary Kittredge                                                        Contingent
          12 Beacon Street                                                      Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Mass Bio Ed                                                           Contingent
          300 Technology Square-8th Floor                                       Unliquidated
          Cambridge, MA 02139                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          MASS GOLF ASSOCIATION                                                 Contingent
          300 ARNOLD PALMER BLVD.                                               Unliquidated
          NORTON, MA 02766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 61 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 71 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Matt Gorman                                                           Contingent
          674 Concord Road                                                      Unliquidated
          Marlboro, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Matthew CampoBasso                                                    Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,800.00
          Matthew Cristy                                                        Contingent
          171 Red Acre Rd
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Prepaid Golf Membership
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Matthew Rancourt                                                      Contingent
          66 Nashaway Road                                                      Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,089.71
          MAUI JIM                                                              Contingent
          PO BOX 203861                                                         Unliquidated
          DALLAS, TX 75320-3861                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,089.71
          MAUI JIM                                                              Contingent
          PO BOX 203861                                                         Unliquidated
          DALLAS, TX 75320-3861                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Maureen McNally                                                       Contingent
          331 Church Street                                                     Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 62 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 72 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,500.00
          Medacuity Software                                                    Contingent
          210 Littleton Road                                                    Unliquidated
          Westford, MA 01886                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,812.00
          MGA (Mass Golf Association)                                           Contingent
          c/o Naomi Nesenoff
                                                                                Unliquidated
          300 Arnold Palmer Blvd
          Norton, MA 02766                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          Michael Barnicle                                                      Contingent
          20 Trapelo Road
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Michael Bassinger                                                     Contingent
          24 Kendra Lane
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Michael DeNofrio                                                      Contingent
          BNY Mellon, 4400 Computer Dr                                          Unliquidated
          Westborough, MA 01581                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Michael F. Iodice Jr.                                                 Contingent
          71 Westcliff Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Michael Galli                                                         Contingent
          11c Carnation Cir
                                                                                Unliquidated
          Readig, MA 01867
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 63 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 73 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,295.00
          Michael Gardner                                                       Contingent
          28 Hidden Brook Drive                                                 Unliquidated
          Stamford, CT 06907
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Michael Hughes                                                        Contingent
          182 Pine Hill Road                                                    Unliquidated
          Boxboro, MA 01719
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Michael Kavaleski                                                     Contingent
          64 Farm Rd                                                            Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Michael Lynch                                                         Contingent
          340 Sunderland                                                        Unliquidated
          Worcester, MA 01604
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Michael McGuinness                                                    Contingent
          32 Sears Road
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Michael Murphy                                                        Contingent
          72 Fox Run
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,500.00
          Michael Panagakos                                                     Contingent
          21 Carroll Circle                                                     Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 64 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 74 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Michael Romano                                                        Contingent
          62 Flint Road
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Michael Ruettgers                                                     Contingent
          453 Bedford Road
                                                                                Unliquidated
          Carlisle, MA 01741
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,800.00
          Michael Sperlinga                                                     Contingent
          1 Charles St S #1B
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,500.00
          Michael Sutkowski                                                     Contingent
          266 Longhill Road
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Michael Thompson                                                      Contingent
          7 Woodcrest Road
                                                                                Unliquidated
          Westborough, MA 01581
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,349.00
          Michael Worhach                                                       Contingent
          52 Chandler St #2                                                     Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $405.00
          MICROBAC LABORATORIES, INC.                                           Contingent
          PO BOX 3510                                                           Unliquidated
          PITTSBURG, PA 15230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 65 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 75 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,295.00
          Mike Speer                                                            Contingent
          50 Riverpath Drive #12                                                Unliquidated
          Framingham, MA 01701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $845.00
          MONAHAN GROUP, INC.                                                   Contingent
          340 MAIN STREET, SUITE 906                                            Unliquidated
          WORCESTER, MA 01608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $285.00
          MORAN PLUMBING & HEATING INC.                                         Contingent
          54 ALLEN STREET                                                       Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $720.00
          MOUNT HOPE ENGINEERING, INC.                                          Contingent
          1788 G.A.R. HIGHWAY                                                   Unliquidated
          SWANSEA, MA 02777                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $183.76
          MTE, INC.                                                             Contingent
          33 THRUWAY PARK DRIVE                                                 Unliquidated
          W HENRIETTA, NY 14586                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $870.00
          Nashoba HS Class of                                                   Contingent
          50 Mechanic St.                                                       Unliquidated
          Bolton                                                                Disputed
           MA 01740
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $870.00
          Nashoba HS Drama                                                      Contingent
          8 Herbert Road                                                        Unliquidated
          Chelmsford                                                            Disputed
           MA 01824
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 66 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 76 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Nathan Jaques                                                         Contingent
          42 Skilton Ln                                                         Unliquidated
          Burlington, MA 01803
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,535.19
          NATIONAL GRID                                                         Contingent
          PO BOX 29791                                                          Unliquidated
          NEW YORK, NY 10087-9791                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $466.96
          NEEDHAM ELECTRIC SUPPLY                                               Contingent
          PO BOX 55008                                                          Unliquidated
          BOSTON, MA 02205-5008                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          Neurofibromatosis, I                                                  Contingent
          9 Bedford St.                                                         Unliquidated
          Burlington, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $150.00
          NEW ENGLAND WATER WORKS                                               Contingent
          ASSOCIATION                                                           Unliquidated
          125 HOPPING BROOK RD                                                  Disputed
          HOLLISTON, MA 01746
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Nicholas Manzi                                                        Contingent
          1 Lakeview Path                                                       Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          Nicholas Markey                                                       Contingent
          35 Gregorie Drive                                                     Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 67 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 77 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Nicholas Shaw                                                         Contingent
          5615 Stearns Hill Rd.                                                 Unliquidated
          Waltham, MA 02451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nick Duren                                                            Contingent
          398 Main Street                                                       Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,900.00
          Nick Hemond                                                           Contingent
          6 Messenger Street                                                    Unliquidated
          Plainville, MA 02762
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,665.00
          Nick Palange                                                          Contingent
          2 Linden St                                                           Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nillson Melker                                                        Contingent
          125 Vientos Rd                                                        Unliquidated
          Camarillo, CA 93010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Norman R. Veenstra                                                    Contingent
          6300 Flotilla Dr Apt 104
                                                                                Unliquidated
          Holmes Beach, FL 34217
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $192.00
          NORTHEAST CUTLERY SVC. INC.                                           Contingent
          244 ASH STREET                                                        Unliquidated
          READING, MA 01867                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 68 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 78 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          Nypro league                                                          Contingent
                                                                                Unliquidated
            MA                                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          NYPRO-Charity Golf Outing                                             Contingent
          The Amber Foundation: 101 Union Street                                Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,200.00
          OMNIUM PROTECTION GROUP, INC.                                         Contingent
          303 WYMAN ST., SUITE 300                                              Unliquidated
          WALTHAM, MA 02451-1208                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,044.80
          ONYX CENTERSOURCE                                                     Contingent
          PO BOX 802949                                                         Unliquidated
          DALLAS, TX 75380                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,007.63
          OSTERMAN PROPANE, LLC                                                 Contingent
          PO BOX 150                                                            Unliquidated
          WHITINSVILLE, MA 01588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $325.00
          Pat Delaney                                                           Contingent
          217 Chapman Place                                                     Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,800.00
          Pathways                                                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 69 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 79 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,000.00
          Patrick Scannell                                                      Contingent
          184 Beacon Street Unit 3
                                                                                Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          Paul Burke Jr.                                                        Contingent
          11 White Dove Road
                                                                                Unliquidated
          Franklin, MA 02038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,995.50
          Paul Cavicchio Jr.                                                    Contingent
          412 Great Road                                                        Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Paul Chisholm                                                         Contingent
          78 Shepherd Road
                                                                                Unliquidated
          Medford, MA 02155
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Paul Iasiello                                                         Contingent
          5 Carroll Drive                                                       Unliquidated
          Westborough, MA 01581
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,500.00
          Paul Janda                                                            Contingent
          64 Mountainview Road
                                                                                Unliquidated
          Leominster, MA 01453
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Paul Kerrigan                                                         Contingent
          13 Colt Road
                                                                                Unliquidated
          Franklin, MA 02038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 70 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 80 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Paul Mastroianni                                                      Contingent
          9 Southbarn Road
                                                                                Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,500.00
          Paul Mastroianni                                                      Contingent
          9 Southbarn Road                                                      Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $675.00
          Paul McCown                                                           Contingent
          15 Bristol Avenue                                                     Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $650.00
          Paul McCulley                                                         Contingent
          242 Bolton Road PO box 595                                            Unliquidated
          S. Lancaster, MA 01561                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Paul O'Malley                                                         Contingent
          30 Sherwood Drive                                                     Unliquidated
          Marlboro, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Paul Persico                                                          Contingent
          51 Causeway Street                                                    Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Paula Angelini                                                        Contingent
          14 Old Winter Street
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 71 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 81 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,500.00
          Pearl Burton                                                          Contingent
          1269 Central Street
                                                                                Unliquidated
          Leominster, MA 01453
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Perry Perisho                                                         Contingent
          249 Sudbury Rd                                                        Unliquidated
          Stow, MA 01775                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Peter Basile                                                          Contingent
          28 Murray Lane                                                        Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Peter Breen                                                           Contingent
          292 Main Street                                                       Unliquidated
          Groton, MA 01450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Peter C. Schliemann                                                   Contingent
          50 Silver Hill Road
                                                                                Unliquidated
          Lincoln, MA 01773
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Peter J. Bassett                                                      Contingent
          115 Buckskin Dr
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,597.92
          PETER MILLAR LLC                                                      Contingent
          PO BOX 744420                                                         Unliquidated
          ATLANTA, GA 30374-4420                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 72 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 82 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,349.00
          Peter Schliemann                                                      Contingent
          50 Silver Hill Road                                                   Unliquidated
          Lincoln, MA 01773                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Peter Schofield                                                       Contingent
          220 Candlestick Road
                                                                                Unliquidated
          North Andover, MA 01845
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $171.56
          PETERSON LINEN RENTAL & SALES                                         Contingent
          215 SHAW STREET                                                       Unliquidated
          BRAINTREE, MA 02184                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,650.00
          Phil Jones                                                            Contingent
          12 Clark Lane                                                         Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Phil O'Connor                                                         Contingent
          15 Indian Hill Road                                                   Unliquidated
          Woburn, MA 01801
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Philippe Grenier                                                      Contingent
          22 Forty Acres Drive                                                  Unliquidated
          Wayland, MA 01778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Piper Electric                                                        Contingent
          186 Main St                                                           Unliquidated
          Leominster, MA 01453
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 73 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 83 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $244.18
          QUADIENT FINANCE USA-Neofunds                                         Contingent
          PO BOX 6813                                                           Unliquidated
          CAROL STREAM, IL 60197-6813                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $331.00
          QUALITY BEVERAGE, ACCT# 05443                                         Contingent
          PO BOX 671                                                            Unliquidated
          TAUNTON, MA 02780                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,592.00
          Ralph Ellis                                                           Contingent
          136 Main Street                                                       Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,874.57
          Raymond Grenier                                                       Contingent
          Bolton Capital Group, Inc., 579 Main St                               Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,990.00
          Raymond Martino                                                       Contingent
          42 Woodmont Drive                                                     Unliquidated
          Hollis, NH 03049
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $414.00
          READYREFRESH BY NESTLE                                                Contingent
          PO BOX 856192                                                         Unliquidated
          LOUISVILLE, KY 40285-6192                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,173.00
          Real Estate Taxes                                                     Contingent
          PO BOX 127                                                            Unliquidated
          BOLTON, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 74 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 84 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Rene Hemond                                                           Contingent
          148 Mary Catherine Drive                                              Unliquidated
          Lancaster, MA 01523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Richard Burpee                                                        Contingent
          158 Skyline Drive                                                     Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Connors                                                       Contingent
          30 Orchard Rd                                                         Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,500.00
          Richard Cremmen                                                       Contingent
          12 Montgomery Ave                                                     Unliquidated
          Falmouth, MA 02540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Richard Duffy                                                         Contingent
          210 Lincoln ST Unit 601
                                                                                Unliquidated
          Boston, MA 02110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Richard Feldt                                                         Contingent
          445 Lowell Rd
                                                                                Unliquidated
          Concord, MA 01742
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Richard Fosler                                                        Contingent
          4 Arnold Terrace                                                      Unliquidated
          Marblehead, MA 01945                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 75 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 85 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Richard Greene                                                        Contingent
          89 Thornberry Road
                                                                                Unliquidated
          Winchester, MA 01890
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Richard Lucier                                                        Contingent
          4828 Magnolia Lake Drive
                                                                                Unliquidated
          Unit 401
          Myrtle Beach, SC 29577                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Richard Mayo                                                          Contingent
          12 Garrison House Lane
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $42.95
          RICHEY & CLAPPER, INC.                                                Contingent
          33 BOSTON POST ROAD                                                   Unliquidated
          SUDBURY, MA 01776                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Rick Cincotta                                                         Contingent
          15 Andrews Road                                                       Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Rick Piermarini                                                       Contingent
          384 Brockelman Rd                                                     Unliquidated
          Lancaster, MA 01523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Rob Slabysz                                                           Contingent
          3 Robinwood Road                                                      Unliquidated
          Littleton, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 76 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 86 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Robert Andrews                                                        Contingent
          49 Henry St                                                           Unliquidated
          Winchester, MA 01890
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Robert Bailey                                                         Contingent
          77 High Street
                                                                                Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,000.00
          Robert Bailey Jr.                                                     Contingent
          77 High St.                                                           Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Robert Bonci                                                          Contingent
          234 Greeley Street
                                                                                Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Robert Dutkowsky                                                      Contingent
          4201 Bayshore Blvd #1504
                                                                                Unliquidated
          Tampa, FL 33611
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,500.00
          Robert Gorman                                                         Contingent
          8 Fairview Dr.                                                        Unliquidated
          Southboro, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Robert Mitchell                                                       Contingent
          102 Pinnacle Road
                                                                                Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 77 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 87 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Robert Nicewicz                                                       Contingent
          22 Liberty Drive, Unit 5D
                                                                                Unliquidated
          Boston, MA 02210
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Robert Nicewicz Jr.                                                   Contingent
          22 Liberty Drive, Unit 5D                                             Unliquidated
          Boston, MA 02210                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,166.00
          Robert O'Connell                                                      Contingent
          20 Louisburg Square
                                                                                Unliquidated
          Boston, MA 02108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Randazzo                                                       Contingent
          64 Highland Avenue, Unit 11                                           Unliquidated
          Unit 11                                                               Disputed
          Winchester, MA 01890
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Robert Shanahan                                                       Contingent
          34 Leighton Road
                                                                                Unliquidated
          Wellesley, MA 02482
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Robert Swift                                                          Contingent
          123 Beaver Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Robert Tarter                                                         Contingent
          26 Donnelly Drive
                                                                                Unliquidated
          Dover, MA 02030
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 78 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 88 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,612.50
          Robyn-Lyn Piermarini                                                  Contingent
          314 Brockelman Rd                                                     Unliquidated
          Lancaster, MA 01523
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Rodney Frias                                                          Contingent
          22 Brenton Wood Road                                                  Unliquidated
          Hudson, MA 01749
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Rodney Sparrow                                                        Contingent
          146 Fox Run
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          Roger Kane                                                            Contingent
          15 Carroll Circle                                                     Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,375.00
          Roger Marino                                                          Contingent
          256 Westfield Street
                                                                                Unliquidated
          Dedham, MA 02026
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Roger Urell                                                           Contingent
          14 Draper Road
                                                                                Unliquidated
          Wayland, MA 01778
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,321.00
          Roger Urell                                                           Contingent
          14 Draper Road                                                        Unliquidated
          Wayland, MA 01778
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 79 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 89 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $216.88
          ROGERS PRINTING CO., INC.                                             Contingent
          136 POND STREET                                                       Unliquidated
          LEOMINSTER, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ron Battista                                                          Contingent
          30 Winterberry Road                                                   Unliquidated
          Saunderstown, RI 02874
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,500.00
          Ron Jacques                                                           Contingent
          151 Westhill Road                                                     Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Ron Sylvestor                                                         Contingent
          2 Essex Drive                                                         Unliquidated
          Hudson, MA 01749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Ronald Ladner                                                         Contingent
          114 Pilgrim Drive
                                                                                Unliquidated
          Holden, MA 01520
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Ronald Peabody                                                        Contingent
          34 Hickory Lane
                                                                                Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Ronan O'Connor                                                        Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 80 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 90 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,280.00
          Ross Bundy                                                            Contingent
          29A Gray Street                                                       Unliquidated
          Boston, MA 02116
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Roxann Burney                                                         Contingent
          25 West Bare Hill Rd                                                  Unliquidated
          Harvard, MA 01451
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,840.00
          Ryan Conlon                                                           Contingent
          24 Ellis Street                                                       Unliquidated
          Woburn, MA 01801
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,400.00
          Ryan Gregory                                                          Contingent
          20 Queensbury St.                                                     Unliquidated
          Boston, MA 02215
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,400.00
          Ryan Walker                                                           Contingent
          57 Fernbrook Road                                                     Unliquidated
          Northborough, MA 01532
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $882.50
          S & S EQUIPMENT SERVICES, INC.                                        Contingent
          632B SUNDERLAND ROAD                                                  Unliquidated
          WORCESTER, MA 01604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Safety Insurance Com                                                  Contingent
          20 Custom House Street                                                Unliquidated
          Boston, MA 02110
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 81 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 91 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Samuel Shames                                                         Contingent
          16 Black Oak Road
                                                                                Unliquidated
          Wayland, MA 01778
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandra Sloan                                                          Contingent
          148 Mary Catherine Drive                                              Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,400.00
          Sarah Griffith                                                        Contingent
          821 Ledgewood Way                                                     Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Scott Bundy                                                           Contingent
          580 Flagg Hill Road
                                                                                Unliquidated
          Boxborough, MA 01719
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Scott Bundy                                                           Contingent
          580 Flagg Hill Road                                                   Unliquidated
          Boxborough, MA 01719                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          Scott Curvey                                                          Contingent
          18151 Lagos Way
                                                                                Unliquidated
          Naples, FL 34110
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Scott Gilroy                                                          Contingent
          16 Ammon Drive
                                                                                Unliquidated
          Manchester, NH 03108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 82 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 92 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,360.00
          Scott Swain                                                           Contingent
          177 Wintergreen Ln                                                    Unliquidated
          Groton, MA 01450
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sean Dandley                                                          Contingent
          One Sundial Ave, Suite 414                                            Unliquidated
          Manchester, NH 03013
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Sean Silvia                                                           Contingent
          9 Rockland St
                                                                                Unliquidated
          Wellesley, MA 02481
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,200.00
          Sean Sullivan                                                         Contingent
          252 W. Berlin Rd                                                      Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,007.00
          SELECTIVE INSURANCE COMPANY OF                                        Contingent
          BOX 371468                                                            Unliquidated
          PITTSBURG, MA 15250-7468                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,578.44
          SID WAINER & SONS, 2069                                               Contingent
          PO BOX 50240                                                          Unliquidated
          NEW BEDFORD, MA 02745                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,700.52
          SID WAINER & SONS, INC                                                Contingent
          PO BOX 50240                                                          Unliquidated
          NEW BEDFORD, MA 02745                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 83 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 93 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $324.00
          SIGNATURE BRANDS                                                      Contingent
          45 COMMERCE WAY                                                       Unliquidated
          NORTON, MA 02766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,244.33
          SITEONE LANDSCAPE SUPPLY, LLC                                         Contingent
          24110 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1241                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,251.36
          SOLITUDE LAKE MANAGEMENT                                              Contingent
          1320 BROOKWOOD DRIVE SUITE H                                          Unliquidated
          LITTLE ROCK, AR 72202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Stephen Buchanan                                                      Contingent
          289 Ballville Road
                                                                                Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Stephen Dunn                                                          Contingent
          27 Herrick Drive
                                                                                Unliquidated
          Methuen, MA 01844
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Stephen Giulietti                                                     Contingent
          57 Washington Drive
                                                                                Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,560.00
          Stephen Giulietti                                                     Contingent
          57 Washington Drive                                                   Unliquidated
          Acton, MA 01720                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 84 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 94 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,315.00
          Stephen Simpson                                                       Contingent
          10 West View Lane                                                     Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Steve Roach                                                           Contingent
          81 Tahattawan Road                                                    Unliquidated
          Littleton, MA 01460
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Steven Aulds                                                          Contingent
          13 Stoney Brook Road                                                  Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Steven Hoogasian
          c/o Rickie T. Weiner, Esq.                                            Contingent
          Law Offices of Rickie T. Weiner, PC                                   Unliquidated
          11 Pleasant Street, Suite 120                                         Disputed
          Worcester, MA 01609
                                                                             Basis for the claim:    2020 Membership dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,990.00
          Steven Soldi                                                          Contingent
          4 Fox Run Drive                                                       Unliquidated
          Clinton, MA 01510
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $550.00
          Sue Billings                                                          Contingent
          120 Whitcomb Drive                                                    Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          Suffolk Construction                                                  Contingent
          65 Allerton Street                                                    Unliquidated
          Boston, MA 02119                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 85 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 95 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,730.25
          SUMMIT GOLF BRANDS                                                    Contingent
          PO BOX 5019                                                           Unliquidated
          WHITE PLAINS, NY 10602                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          Sunovian                                                              Contingent
          Emily Adcock, 84 Waterford Dr                                         Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,275.00
          Susan McKeen                                                          Contingent
          43 Wheeler Road                                                       Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,500.00
          Sy Schwartz                                                           Contingent
          225 Humphrey St.                                                      Unliquidated
          Swampscott, MA 01907
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Synchrony Bank                                                        Contingent
          c/o PRA Receivables Management LLC
                                                                                Unliquidated
          PO Box 41021
          Norfolk, VA 23541                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,908.99
          SYSCO BOSTON, LLC, MCH ACCT                                           Contingent
          99 SPRING ST                                                          Unliquidated
          PLYMPTON, MA 02367                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,557.76
          SYSCO BOSTON, LLC, MCH ACCT                                           Contingent
          99 SPRING ST                                                          Unliquidated
          PLYMPTON, MA 02367                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 86 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 96 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $407.49
          T&T WEBER HYDRAULIC,INC                                               Contingent
          184 STONE ST                                                          Unliquidated
          CLINTON, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $340.70
          T.F. KINNEALEY & CO, INC.                                             Contingent
          P.O. BOX 842123                                                       Unliquidated
          BOSTON, MA 02284-2123                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,729.00
          TCF EQUIPMENT FINANCE, INC.                                           Contingent
          PO BOX 77077                                                          Unliquidated
          MINNEAPOLIS, MN 55480-7777                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $255.00
          TECH. TRAINING ASSOCIATES, INC.                                       Contingent
          326 S PLANT AVE                                                       Unliquidated
          TAMPA, FL 33606                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terence O'Brien Sr.                                                   Contingent
          330 Green Street                                                      Unliquidated
          Northborough, MA 01532
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Terry Wells                                                           Contingent
          20 Twin Pond Lane
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,250.00
          The CSL Foundation                                                    Contingent
          152 Middlesex Turnpike
                                                                                Unliquidated
          Burlington, MA 01803
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 87 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 97 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,015.05
          THE HOME DEPOT PRO                                                    Contingent
          PO BOX 404468                                                         Unliquidated
          ATLANTA, GA 30384-4468                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $934.38
          THE HOME DEPOT PRO                                                    Contingent
          PO BOX 742440                                                         Unliquidated
          LOS ANGELES, CA 90074-2440                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $360.00
          The Monahan Group, Inc.                                               Contingent
          340 Main Street                                                       Unliquidated
          Suite 906                                                             Disputed
          Worcester, MA 01608
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $310.00
          THE TORO COMPANY NSN                                                  Contingent
          39398 TREASURY CENTER                                                 Unliquidated
          CHICAGO, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $345.00
          Thomas Bates                                                          Contingent
          23 Fox Run Drive                                                      Unliquidated
          Clinton, MA 01510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Thomas Brown                                                          Contingent
          13 Beaver Dam Drive
                                                                                Unliquidated
          Westford, MA 01886
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,750.00
          Thomas Brown                                                          Contingent
          13 Beaver Dam Drive                                                   Unliquidated
          Westford, MA 01886                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 88 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 98 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,165.00
          Thomas Davidow                                                        Contingent
          183 Gardner Road
                                                                                Unliquidated
          Brookline, MA 02445
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Thomas Gaffney                                                        Contingent
          125 High
                                                                                Unliquidated
          Chestnut Hill, MA 02167
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Thomas Golding                                                        Contingent
          19 Dover Circle
                                                                                Unliquidated
          Franklin, MA 02038
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,689.00
          Thomas Graustein                                                      Contingent
          8 Stefaniak Ave                                                       Unliquidated
          Webster, MA 01570                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,958.50
          Thomas Napoli                                                         Contingent
          8 Littlefield Road                                                    Unliquidated
          Acton, MA 01720
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Thomas Nolan Jr.                                                      Contingent
          3612 Crescent Avenue
                                                                                Unliquidated
          Dallas, TX 75205
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,847.50
          Thomas Reale                                                          Contingent
          4 Woodlot Lane                                                        Unliquidated
          Chemlsford, MA 01824
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 89 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18              Filed 06/19/20 Entered 06/19/20 18:22:05                                      Desc Main
                                                                     Document      Page 99 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,300.49
          TIAA BANK                                                             Contingent
          PO BOX 911608                                                         Unliquidated
          DENVER, CO 80291-1608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Tim Barberich                                                         Contingent
          88 Beacon Street
                                                                                Unliquidated
          Boston, MA 02108
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tim Battles                                                           Contingent
          99 Overlook Drive                                                     Unliquidated
          Groton, MA 04150
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          Tim Nickerson                                                         Contingent
          715 Main Street                                                       Unliquidated
          Boylston, MA 01505
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,240.00
          Timothy Barberich                                                     Contingent
          88 Beacon Street                                                      Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,500.00
          Timothy Call                                                          Contingent
          29 Carleton Dr
                                                                                Unliquidated
          Needham, MA 02492
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,295.00
          Timothy Desmond                                                       Contingent
          17 Everett Ave.                                                       Unliquidated
          Winchester, MA 01890
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 90 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 100 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Timothy Dunn                                                          Contingent
          5 Floyd St., Apt. 5                                                   Unliquidated
          Waltham, MA 02453
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Timothy Fitzgerald                                                    Contingent
          60 Bolton Station Road                                                Unliquidated
          Lancaster, MA 01523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Leisman                                                       Contingent
          74 Taylor Road                                                        Unliquidated
          Marlborough, MA 01752
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,800.00
          Timothy Smith                                                         Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,030.75
          TITLEIST/ACUSHNET CORP                                                Contingent
          PO BOX 844324                                                         Unliquidated
          BOSTON, MA 02284-4324                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,000.00
          TJ Reale III                                                          Contingent
          3 Keely Dr.                                                           Unliquidated
          Charlton, MA 01507                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,800.00
          Todd Bremner                                                          Contingent
          7 Lower Field Rd.                                                     Unliquidated
          Weston, MA 02493                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 91 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 101 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Todd McDonough                                                        Contingent
          9 Acorn Dr.                                                           Unliquidated
          Londonderry, NH 03083
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,800.00
          Todd Southard                                                         Contingent
          50 Coventry Wood Rd                                                   Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Todd Spreen                                                           Contingent
          247 Sunset Dr.                                                        Unliquidated
          Richboro, PA 18954
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,500.00
          Tom Barraclough                                                       Contingent
          26 Cider Circle                                                       Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,100.00
          Tom Hammond                                                           Contingent
          1 Chrysler Rd,#1008                                                   Unliquidated
          Natick, MA 01760
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,405.38
          TOM IRWIN                                                             Contingent
          13 A STREET                                                           Unliquidated
          BURLINGTON, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Tony Kwan                                                             Contingent
          2 Rocky Ledge Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 92 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 102 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tony O'Reilly                                                         Contingent
          21 Bridle Path                                                        Unliquidated
          Auburn, MA 01501
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.65
          TOREKU TRACTOR & EQUIP., INC.                                         Contingent
          4 LITTLETON ROAD                                                      Unliquidated
          AYER, MA 01432                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,857.39
          TPX COMMUNICATIONS                                                    Contingent
          1 SUNDIAL AVENUE, SUITE 414                                           Unliquidated
          MANCHESTER, NH 03103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $693.81
          TRANE US INC                                                          Contingent
          PO BOX 406469                                                         Unliquidated
          ATLANTA 30384-6469                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $728.16
          TRAVELCLICK, INC.                                                     Contingent
          PO BOX 71199                                                          Unliquidated
          CHICAGO, IL 60694-1199                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $295.00
          Trevor Rochichaud                                                     Contingent
          30 Stagecoach Road                                                    Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,752.33
          TRIMARK                                                               Contingent
          P.O. 3505                                                             Unliquidated
          SO. ATTLEBORO, MA 02703                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 93 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 103 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,190.00
          TURF PRODUCTS CORPORATION                                             Contingent
          DEPARTMENT 950, PO BOX 4110                                           Unliquidated
          WOBURN, MA 01888                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,400.00
          TURTLESON LLC                                                         Contingent
          617 SHELBY STREET                                                     Unliquidated
          BRISTOL, TN 36720                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Tushara Canekeratne                                                   Contingent
          1 Wyndemere Drive
                                                                                Unliquidated
          Southborough, MA 01772
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tushara Canekeratne                                                   Contingent
                                                                                Unliquidated
          00000                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,374.08
          UNIVEST CAPITAL                                                       Contingent
          3331 Street Rd, #325                                                  Unliquidated
          Bensalem, MA 19020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $374.45
          US Bank NA                                                            Contingent
          PO Box 790117                                                         Unliquidated
          St Louis, MO 63179                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          USI Insurance Servic                                                  Contingent
          12 Gill Street                                                        Unliquidated
          Woburn, MA 01801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 94 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 104 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,500.00
          Vance Loiselle                                                        Contingent
          37 Surplus Street
                                                                                Unliquidated
          Duxbury, MA 02332
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Vic Khanna                                                            Contingent
          8 Cobblestone Place                                                   Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,500.00
          Victor Grillo                                                         Contingent
          19681 Loxahatchee River Rd.
                                                                                Unliquidated
          Jupiter, FL 33458
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,695.00
          Walter Dwyer                                                          Contingent
          17 Shirley St.                                                        Unliquidated
          Pepperell, MA 01463
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          Warren Thomson                                                        Contingent
          51 Binscarth Road
                                                                                Unliquidated
          Toronto, Ontario Canada M4W 1Y3
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,779.50
          WASTE WATER ENVTL MGMT INC.                                           Contingent
          9 A QUINCY ROAD                                                       Unliquidated
          LONDONDERRY, NH 03053                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,500.00
          Web Industries Inc.                                                   Contingent
          700 Nickerson Rd. Suite 250                                           Unliquidated
          Marlborough, MA 01752                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 95 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 105 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          Will Hakala                                                           Contingent
          259 Green Road                                                        Unliquidated
          Bolton, MA 01740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Will Herman                                                           Contingent
          8 Cobblestone Place
                                                                                Unliquidated
          Sudbury, MA 01776
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Collins                                                       Contingent
          19 Bridlefield Lane                                                   Unliquidated
          Medfield, MA 02052
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          William E. Cress                                                      Contingent
          2 Brattle Sq 3rd Floor
                                                                                Unliquidated
          Cambridge, MA 02138
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          William Ebsworth                                                      Contingent
          17 Audobon Road
                                                                                Unliquidated
          Weston, MA 02493
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,000.00
          William Hubbard                                                       Contingent
          6 Ballard Terrace
                                                                                Unliquidated
          Lexington, MA 02420
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          William Nelson                                                        Contingent
          24 Wescott Drive
                                                                                Unliquidated
          Hopkinton, MA 01748
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 96 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 106 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,000.00
          William Ray                                                           Contingent
          23 Butternut lane                                                     Unliquidated
          Bolton, MA 01740
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,500.00
          William Rhatigan                                                      Contingent
          160 Wings Neck Road
                                                                                Unliquidated
          Pocassett, MA 02559
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $267.18
          WILLIAM ROAM, LLC                                                     Contingent
          8227 NORTHWEST BLVD,#130                                              Unliquidated
          INDIANAPOLIS, IN 46278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          William Weissman                                                      Contingent
          24 Factory Cove Road
                                                                                Unliquidated
          Boothbay Harbor, ME 04538
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          William Yapp                                                          Contingent
          21 Kettell Plain Rd                                                   Unliquidated
          Stow, MA 01775
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.20
          WINDSTREAM                                                            Contingent
          PO BOX 9001013                                                        Unliquidated
          LOUISVILLE, KY 40290-1013                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $500.00
          WINDSTREAM COMMUNICATIONS, INC                                        Contingent
          PO BOX 843006                                                         Unliquidated
          KANSAS CITY, MO 64184                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 97 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                          Desc Main
                                                                 Document     Page 107 of 126
 Debtor       The International Golf Club, LLC                                                        Case number (if known)            20-40524-CJP
              Name

 3.603     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $14.90
           World Travel                                                         Contingent
           1724 W Schylkill Rd                                                  Unliquidated
           Douglassville, PA 19518                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.604     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $7,500.00
           YMCA MA CEO Retreat                                                  Contingent
           150 Orleans Street Unit 106                                          Unliquidated
           Boston, MA 02128                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      236,539.94
 5b. Total claims from Part 2                                                                            5b.   +    $                   30,383,967.13

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      30,620,507.07




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 98 of 98
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                        Desc Main
                                                                 Document     Page 108 of 126
 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         20-40524-CJP
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   NeoPost Mail Finance
             lease is for and the nature of               Lease Agreement
             the debtor's interest                        Postage Meter
                                                          Contract N13062108
                                                          Mail Machine IN-600
                                                          AF Mailing Solution
                  State the term remaining
                                                                                       Quadient, dba NeoPost USA, Inc.
             List the contract number of any                                          478 Wheelers Farms Road
                   government contract                                                Milford, CT 06461


 2.2.        State what the contract or                   Waste Water Treatment
             lease is for and the nature of               Plan Consulting
             the debtor's interest

                  State the term remaining
                                                                                      Avalon Consulting Group
             List the contract number of any                                          41 Cal's Court
                   government contract                                                Taunton, MA 02780


 2.3.        State what the contract or                   Master Maintenance
             lease is for and the nature of               Service for following
             the debtor's interest                        elevators: Pro Shop;
                                                          conference center;
                                                          guest lodge,
                                                          conference center
                                                          dumbwaiter; club
                                                          house dumbwaiter
                  State the term remaining
                                                                                      Bay State Elevator Company
             List the contract number of any                                          PO Box 910
                   government contract                                                Agawam, MA 01001


 2.4.        State what the contract or                   401K Benefits
             lease is for and the nature of               Administrator
             the debtor's interest                                                    Beacon Benefits, LLC
                                                                                      5 Cherry Hill Drive
                  State the term remaining                                            L120
                                                                                      Danvers, MA 01923
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                   Desc Main
                                                                 Document     Page 109 of 126
 Debtor 1 The International Golf Club, LLC                                                   Case number (if known)   20-40524-CJP
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Emergency Generator -
             lease is for and the nature of               Scheduled
             the debtor's interest                        Maintenance
                                                          Agreement
                  State the term remaining                                           Bigelow Electrical Power Inc.
                                                                                     1 Pullman Street
             List the contract number of any                                         PO Box 60268
                   government contract                                               Worcester, MA 01606-0268


 2.6.        State what the contract or                   Heating & Cooling
             lease is for and the nature of               Systems - newer
             the debtor's interest                        sections of Pro Shot

                  State the term remaining                                           Burnell Controls, Inc.
                                                                                     153 Andover Street
             List the contract number of any                                         Suite 202
                   government contract                                               Danvers, MA 01923


 2.7.        State what the contract or                    Payroll Service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           CertiPay America, LLC Inc.
                                                                                     130 Bates Avenue
             List the contract number of any                                         Suite 101
                   government contract                                               Winter Haven, FL 33880


 2.8.        State what the contract or                   Fire Alarm System Test
             lease is for and the nature of               & Inspection Propopsal
             the debtor's interest

                  State the term remaining                                           Convergent Technologies
                                                                                     6 Merchant Street
             List the contract number of any                                         Unit 4
                   government contract                                               Sharon, MA 02067


 2.9.        State what the contract or                   #00101-0417043 &
             lease is for and the nature of               00101-0464154
             the debtor's interest                         144 carts/2 CafeExp
                                                          gas units; 4Fun Electric
                                                          cart/Villager golf cart
                  State the term remaining
                                                                                     Country Club Enterprises/DLL Finance
             List the contract number of any                                         PO Box 14535
                   government contract                                               Des Moines, IA 50306




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                    Desc Main
                                                                 Document     Page 110 of 126
 Debtor 1 The International Golf Club, LLC                                                    Case number (if known)   20-40524-CJP
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.10.       State what the contract or                   Waste Collection and
             lease is for and the nature of               Disposal Services
             the debtor's interest

                  State the term remaining
                                                                                      E.L Harvey & Sons, Inc.
             List the contract number of any                                          68 Hopkinton Road
                   government contract                                                Westborough, MA 01581


 2.11.       State what the contract or                   Master Retail Electricity
             lease is for and the nature of               Sales Agreement
             the debtor's interest

                  State the term remaining                                            EDF Energy Services LLC
                                                                                      4700 W. Sam Houston Parkway N
             List the contract number of any                                          #250
                   government contract                                                Houston, TX 77041


 2.12.       State what the contract or                   394750532666
             lease is for and the nature of               394750532665
             the debtor's interest                        394750532663
                                                          394750532664
                                                          394750535929
                                                          394750532680
                                                          394750532683
                                                          394750532684
                  State the term remaining
                                                                                      Elavon Merchant Services
             List the contract number of any                                          7300 Chapman Highway
                   government contract                                                Knoxville, TN 37920


 2.13.       State what the contract or                   HVAC Systems Support
             lease is for and the nature of               Agreement for
             the debtor's interest                        Pneumatic &
                                                          Electric/Electronic
                                                          Controls located in Pro
                                                          Shop and Conference
                                                          Center
                  State the term remaining                                            ENE Systems
                                                                                      480 Neponset Street
             List the contract number of any                                          Suite 11D
                   government contract                                                Canton, MA 02021


 2.14.       State what the contract or                    GPSI Leasing Rental
             lease is for and the nature of               Agreement Amendment
             the debtor's interest                         Visage Syatem in 144
                                                          carts
                  State the term remaining
                                                                                      GPSI Leasing II - Accord LLC
             List the contract number of any                                          1074 N. Orange Avenue
                   government contract                                                Sarasota, FL 34236



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                   Desc Main
                                                                 Document     Page 111 of 126
 Debtor 1 The International Golf Club, LLC                                                   Case number (if known)   20-40524-CJP
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.15.       State what the contract or                   Commericial Sales
             lease is for and the nature of               Agreement for (1)
             the debtor's interest                        Storage Building, (2)
                                                          New Pump House
                                                          Building, (3) Club
                                                          House, Pro Shop,
                                                          Conference Center,
                                                          Guest Lodge, Golf Bag
                                                          Storage, Waste Water
                                                          Building, Cart Barn and
                                                          Oaks Snack Bar
                  State the term remaining
                                                                                     Johnson Systems-Tyco Integrated Security
             List the contract number of any                                         771 Southbridge Street
                   government contract                                               Auburn, MA 01501


 2.16.       State what the contract or                   MembersFirst Website
             lease is for and the nature of               Website Maintenance
             the debtor's interest                        Service/Online Tee
                                                          Time System
                  State the term remaining
                                                                                     Jonas Holdings, LLC
             List the contract number of any                                         PO Box 8500
                   government contract                                               Philadelphia, PA 19178


 2.17.       State what the contract or                   Jonus Club Support
             lease is for and the nature of               Software Support for
             the debtor's interest                        Financial system

                  State the term remaining
                                                                                     Jonas Software USA, LLC
             List the contract number of any                                         PO Box 3476
                   government contract                                               Philadelphia, PA 19178


 2.18.       State what the contract or                   Merchant Processessor
             lease is for and the nature of               Equipment info - N/A
             the debtor's interest

                  State the term remaining
                                                                                     Merchant Services
             List the contract number of any                                         7300 Chapman Highway
                   government contract                                               Knoxville, TN 37920


 2.19.       State what the contract or                   008-4014366303;
             lease is for and the nature of               Master Lease
             the debtor's interest                        #4014366L
                                                          Toro Pro Core 1298
                                                          Aerifier with
                                                          attachments and
                                                          accessories
                  State the term remaining                                           TCF Equipment Finance
                                                                                     PO Box 77077
             List the contract number of any                                         Minneapolis, MN 55480-7777
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                     Desc Main
                                                                 Document     Page 112 of 126
 Debtor 1 The International Golf Club, LLC                                                     Case number (if known)   20-40524-CJP
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.20.       State what the contract or                   008-4014366103;
             lease is for and the nature of               Master Lease
             the debtor's interest                        #4014366L
                                                           (3) Toro Greenmasters;
                                                          Toro wkman HDX with
                                                          sprayer,(2) Toro
                                                          Wkman HDX, (4) Toro
                                                          Wkman MD, (4) Toro
                                                          greenmasters 3300, (3)
                                                          Tor Pro Force Bllowee,
                                                          Groundmaster 4500 &
                                                          groundsmaster 4300
                  State the term remaining
                                                                                       TCF Equipment Finance
             List the contract number of any                                           PO Box 77077
                   government contract                                                 Minneapolis, MN 55480-7777


 2.21.       State what the contract or                    008-4014366302;
             lease is for and the nature of               Master Lease
             the debtor's interest                        #4014366L
                                                           Toro Pro Core SR54-5,
                                                          (2) Toro Sand Pro 5040,
                                                          Kubotu M606HD,
                                                          Kubota L5060GST &
                                                          attmts
                  State the term remaining
                                                                                       TCF Equipment Finance
             List the contract number of any                                           PO Box 77077
                   government contract                                                 Minneapolis, MN 55480-7777


 2.22.       State what the contract or                    008-4014366107;
             lease is for and the nature of               Master Lease
             the debtor's interest                        #4014366L
                                                           (4) Toro Reelmeaster
                                                          3550-D, (2) Toro
                                                          Greenmeaster 3150,
                                                          Toro Pro core SR54-S,
                                                          (2) Vibe V rollers and
                                                          attmts
                  State the term remaining
                                                                                       TCF Equipment Finance
             List the contract number of any                                           PO Box 77077
                   government contract                                                 Minneapolis, MN 55480-7777


 2.23.       State what the contract or                   Annual Monitoring
             lease is for and the nature of               Service for Pine Shack
             the debtor's interest                        House and Twin
                                                          Springs Golf Club            The Monahan Group, Inc.
                  State the term remaining                                             340 Main Street
                                                                                       Suite 906
             List the contract number of any                                           Worcester, MA 01608
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 5 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                    Desc Main
                                                                 Document     Page 113 of 126
 Debtor 1 The International Golf Club, LLC                                                    Case number (if known)   20-40524-CJP
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.24.       State what the contract or                    TIAA Bank:
             lease is for and the nature of               Supplement to Copy
             the debtor's interest                        Rental Agreement
                                                           4 Xerox copiers:
                                                          C7025T2/C405DN/C906
                                                          5XLS/CB035H2
                  State the term remaining
                                                                                      TIAA Copier Lease
             List the contract number of any                                          PO Box 911608
                   government contract                                                Denver, CO 80291-1608


 2.25.       State what the contract or                   Toro Essentials
             lease is for and the nature of               Renewal Service
             the debtor's interest                        Agreement and
                                                          Extended Warranty
                                                          Software/PC for NSN
                  State the term remaining
                                                                                      TORO NSN
             List the contract number of any                                          PO Box 3339
                   government contract                                                San Angelo, TX 76904-3339


 2.26.       State what the contract or                   Account #1128398
             lease is for and the nature of               Phone Lines for
             the debtor's interest                        property-was a barter

                  State the term remaining                                            TPX Communications
                                                                                      One Sundial Avenue
             List the contract number of any                                          Suite 414
                   government contract                                                Manchester, NH 03103


 2.27.       State what the contract or                   Yamaha Commercial
             lease is for and the nature of               Finance
             the debtor's interest                        20 of DR2A AFI Golf
                                                          Cars - Twins Springs
                                                          Golf Course
                                                          20 Fleet Carts
                  State the term remaining
                                                                                      Yamaha Motor Finance Company
             List the contract number of any                                          6555 Katella Avenue
                   government contract                                                Cypress, CA 90630




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 6 of 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                   Desc Main
                                                                 Document     Page 114 of 126
 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         20-40524-CJP
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1                                                                                                                             D
                                                                                                                                    E/F
                                                                                                                                    G




    2.2      Arklow, LP                        159 Ballville Road                                Florence Weadock                   D
                                               Bolton, MA 01740                                                                     E/F
                                                                                                                                    G




    2.3      Wealyn, LLC                       159 Ballville Road                                Florence Weadock                   D
                                               Bolton, MA 01740                                                                     E/F
                                                                                                                                    G




    2.4      Arklow, dba the                                                                     GPSI Leasing                       D
             International Golf                                                                                                     E/F
             Club
                                                                                                                                    G   2.14




    2.5      Elavon                                                                              Merchant                           D
                                                                                                 Processessor                       E/F
                                                                                                                                    G   2.18




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                Desc Main
                                                                 Document     Page 115 of 126
 Debtor       The International Golf Club, LLC                                            Case number (if known)   20-40524-CJP


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      IGC, LLC                                                                          TIAA Bank                      D
                                                                                                                              E/F
                                                                                                                              G   2.24




    2.7      IGC, LLC                                                                          Country Club                   D
                                                                                               Enterprises                    E/F
                                                                                                                              G   2.9




Official Form 206H                                                         Schedule H: Your Codebtors                                 Page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                               Desc Main
                                                                 Document     Page 116 of 126



 Fill in this information to identify the case:

 Debtor name         The International Golf Club, LLC

                                                    DISTRICT OF MASSACHUSETTS - CENTRAL AND WESTERN
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)         20-40524-CJP
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,350,284.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $5,777,148.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $5,943,081.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                    Desc Main
                                                                 Document     Page 117 of 126
 Debtor       The International Golf Club, LLC                                                          Case number (if known) 20-40524-CJP



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED SOFA #3.1                                      1/42020 -                       $657,107.00                Secured debt
                                                                           5/3/2020                                                   Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Kevin Weadock                                               5/3/10 to                       $118,750.00
                                                                           5/3/20

       4.2.    Ann Specht                                                  5/3/10 to                        $32,400.00
                                                                           5/3/20

       4.3.    Dan Weadock                                                 5/3/10 to                       $112,500.00
                                                                           5/3/20

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Estate of Wm Grigg v. Garrett                    Accident                   Worcester Superior Court                        Pending
               LoPorto and International                                                                                                   On appeal
               Golf Club, LLC                                                                                                              Concluded
               1685CV01871

8. Assignments and receivership
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                Case 20-40524                    Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                   Desc Main
                                                                 Document     Page 118 of 126
 Debtor        The International Golf Club, LLC                                                            Case number (if known) 20-40524-CJP



    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Murphy & King, Professional
                 Corportion
                 One Beacon Street
                 Boston, MA 02108                                                                                              April 2020             $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                Desc Main
                                                                 Document     Page 119 of 126
 Debtor      The International Golf Club, LLC                                                           Case number (if known) 20-40524-CJP



    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value
       13.1 Various Barter Agreements
       .                                                        SEE ATTACHED SOFA #13                                    Various                      $86,525.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Credit Card ACH Monthly Payments - PCI Compliant
                   Does the debtor have a privacy policy about that information?
                     No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Arklow LP, d/b/a The International Golf Club, LLC                                          EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                Case 20-40524                    Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                               Desc Main
                                                                 Document     Page 120 of 126
 Debtor        The International Golf Club, LLC                                                         Case number (if known) 20-40524-CJP



                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was            Last balance
              Address                                           account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Citizens Bank                                  XXXX-0306                    Checking                 5/27/2020                    $13,829.35
                 40 Highland Common E                                                        Savings
                 Hudson, MA 01749
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Citizens Bank                                  XXXX-0322                    Checking                 5/20/2020                      $1,100.00
                 40 Highland Common E                                                        Savings
                 Hudson, MA 01749
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Various Members                                               Cartbarn and Mens                    Golf Clubs, Personal locker                Unknown
                                                                     Locker Room                          items


 Part 12:      Details About Environment Information
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                Case 20-40524                    Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                                   Desc Main
                                                                 Document     Page 121 of 126
 Debtor      The International Golf Club, LLC                                                           Case number (if known) 20-40524-CJP




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Pamela Weiss                                                                                                               10/28/2016 to
                    7965 Old Georges Way                                                                                                       present
                    Palos Heights, IL 60463

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                Case 20-40524                    Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                              Desc Main
                                                                 Document     Page 122 of 126
 Debtor      The International Golf Club, LLC                                                           Case number (if known) 20-40524-CJP



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       RSM US LLP                                                                                                           01/01/2011 to
                    80 City Square                                                                                                       present
                    Charlestown, MA 02129-3742

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Pamela Weiss                                                                             N/A
                    7965 Old Georges Way
                    Palos Heights, IL 60463

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Bob Keene                                                                                                $52,620.50 (weighted cost average)
       .                                                                                    3/30/2020                Golf Merchandise Inventory

                Name and address of the person who has possession of
                inventory records
                Pamela Weiss
                7965 Old Georges Way
                *Held at 159 Ballville Road, Bolton MA*
                Palos Heights, IL 60463


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Florence Weadock                               c/o John Altamore, Esq.                             Manager
                                                                                                          Registered as Foreign LLC in
                                                                                                          Mass.
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kevin Weadock                                                                                      Manager
                                                                                                          Registered as Foreign LLC in
                                                                                                          Mass
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Arklow LP                                                                                          Sole Member
                                                                                                          Registered as Foreign LLC in
                                                                                                          Mass


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                             Desc Main
                                                                 Document     Page 123 of 126
 Debtor      The International Golf Club, LLC                                                           Case number (if known) 20-40524-CJP



    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 REFER TO PART 2 -
       .    QUESTION 4
                                                                $263,650.00                                              Various

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
               Case 20-40524                     Doc 18          Filed 06/19/20 Entered 06/19/20 18:22:05                          Desc Main
                                                                 Document     Page 124 of 126
 Debtor      The International Golf Club, LLC                                                           Case number (if known) 20-40524-CJP




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 19, 2020

 /s/ Craig R. Jalbert                                                   Craig R. Jalbert
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
    Case 20-40524        Doc 18      Filed 06/19/20 Entered 06/19/20 18:22:05                    Desc Main
                                     Document     Page 125 of 126



                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS
                                       (Central Division)



    In re                                                    Chapter 11

    ARKLOW LIMITED PARTNERSHIP,1                             Case No. 20-40523-CJP

                           Debtor                            Jointly Administered



               STATEMENT REGARDING THE SCHEDULES OF ASSETS
             AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       The debtors and debtors-in-possession (collectively the “Debtors”) in the above-
captioned chapter 11 cases are contemporaneously filing their Schedules of Assets and Liabilities
(the “Schedules”) and Statement of Financial Affairs (the “Statements”) pursuant to 11 U.S.C.
§521 and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

       The Schedules and Statements are unaudited. While the Debtors’ management has made
every effort to ensure that the Schedules and Statements are accurate and complete based on
information that was available at the time of preparation, the subsequent receipt of information
may result in changes in financial data contained in the Schedules and Statements. The asset
values described in the Debtors’ Schedules reflect the book values as of the date of the Debtors’
bankruptcy filings, rather than current market values, for their property interests. The Debtors
have not obtained appraisals for their property interests, and reserve all of their rights, claims and
defenses with respect to the value of their assets.

       While every effort has been made to file complete and accurate Schedules and
Statements, inadvertent errors or omissions may exist. The Debtors do not make any
representations or warranties as to the information set forth in the Schedules and Statements, and
reserve the right to amend and/or supplement the Schedules and Statements as may be
appropriate or necessary.

        Should any interest of the Debtors in property, including any causes of action and/or
choses in action, be inadvertently omitted from the Schedules and Statements, such omission
does not constitute a waiver by the Debtors of such interest in property, shall not be deemed an
admission of any kind and shall not otherwise alter or affect the Debtors’ interests in property.
All of the Debtors’ rights, claims and defenses with respect to their interests in property are
reserved.

1
  The debtors in these jointly administered cases, along with the last four digits of each debtor’s federal tax
identification number, are as follows: Arklow Limited Partnership (9883), The International Golf Club, LLC (9792)
and Wealyn, LLC (9883).
  Case 20-40524        Doc 18   Filed 06/19/20 Entered 06/19/20 18:22:05             Desc Main
                                Document     Page 126 of 126




        The Debtors reserve the right to dispute, or to assert offsets or defenses to any claim
reflected on its Schedules as to amount, liability or classification or to otherwise subsequently
designate any claim as disputed, contingent or unliquidated. Any failure to designate a claim on
the Debtors’ Schedules as disputed, contingent, or unliquidated does not constitute an admission
by the Debtors that such amount is not disputed, contingent, or unliquidated. The Debtors
reserve the right to dispute the extent, priority, validity and/or amount of any claim or lien set
forth in the Schedules and/or Statements.

        Any failure to list an entity which is a co-debtor on the Debtors’ schedules does not
constitute an admission by the Debtors that such entity is not a co-debtor and does not affect or
alter any claims or causes of action which the Debtors may hold against such entity.


                                             Respectfully Submitted,

                                             ARKLOW LIMITED PARTNERSHIP, THE
                                             INTERNATIONAL GOLF CLUB, LLC AND
                                             WEALYN, LLC,
                                             By their counsel,


                                             /s/ D. Ethan Jeffery
                                             D. Ethan Jeffery (BBO #631941)
                                             Murphy & King, Professional Corporation
                                             One Beacon Street, 21st Floor
                                             Boston, Massachusetts 02108-3107
                                             Telephone: (617) 423-0400
                                             EJeffery@murphyking.com
Dated: June 19, 2020




                                                 2
